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Fill in this information to identify the case:

 

Debtor name Gypsum Resources Materials, LLC

 

United States Bankruptcy Court for the: District of Nevada
(State)

Case number (Ifknown): _19-14796 a L) Check if this is an
amended filing

 

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

 

 

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Ea Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

LI No. Go to Part 2.
Yes. Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of debtor’s
interest
2. Cash on hand $9

3. Checking, savings, money market, or financial brokerage accounts (/dentify ail)

 

 

 

Name of institution (bank or brokerage firm) Type of account Last 4 digits of account number
3.1. _ Zions Bank Checking 7 3 3 oO- $ -7,249.28
3.2. Sunwest Bank Checking 5 oO 6 g_ g70ast
3.3, Chase Bank Checking 6675/0993/6579 $ 98,832.04

4. Other cash equivalents (/dentify ail)
4.1. $0
4.2.

 

 

5. Total of Part 1
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 

 

 

Ea Deposits and prepayments

6. Does the debtor have any deposits or prepayments?
L) No. Go to Part 3.
Yes. Fill in the information below.

Current value of
debtor’s interest

7. Deposits, including security deposits and utility deposits

Description, including name of holder of deposit

 

7.1, Utility Deposits $ 8,100.00

 

7.2, Other Deposits $ 62,000.00

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 1
Debtor

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Gypsum Resources Materials, LLC Case number (it known) 19-14796

 

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Name

8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Description, including name of holder of prepayment

g.1, Insurance, Lic. Fees, & Financing Costs GRM

g 1,161,809.84

 

8.2, Prepaid expenses HGG

$ 40,000.00

 

9. Total of Part 2.

Add lines 7 through 8. Copy the total to line 81.

Car Accounts receivable

10.

11.

12.

Does the debtor have any accounts receivable?

LI No. Go to Part 4.
Yes. Fill in the information below.

Accounts receivable

 

11a. 90 days old or less: _GRM 432,867.42, HGG 227,592.90 _ 0 Fen >
face amount doubtful or uncollectible accounts
11b. Over 90 days old: GRM 28,268.32, HGG 431,787.44. _ GRM 28,268.32, HGG 335,795 =o. >

 

face amount doubtful or uncollectible accounts

Total of Part 3

Current value on lines 11a + 11b = line 12. Copy the total to line 82.

er Investments

13.

14.

15.

16.

17.

Official Form 206A/B

Does the debtor own any investments?
No. Go to Part 5.
L) Yes. Fill in the information below.
Valuation method
used for current value
Mutual funds or publicly traded stocks not included in Part 1

Name of fund or stock:
14.1.

 

 

$ 1,271,909.84

 

 

Current value of debtor’s
interest

¢ 660,460.30

 

 

 

Current value of debtor’s
interest

 

 

 

 

 

 

 

$
14.2. ee S$
Non-publicly traded stock and interests in incorporated and unincorporated businesses,
including any interest in an LLC, partnership, or joint venture
Name of entity: % of ownership:
15.1. %G Guarantor $
15.2. % a $e
Government bonds, corporate bonds, and other negotiable and non-negotiable
instruments not included in Part 1
Describe:
16.1. “Fg
16.2. a
Total of Part 4 $0

Add lines 14 through 16. Copy the total to line 83.

Schedule A/B: Assets — Real and Personal Property

 

 

page 2

 

 

 
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Debtor Gypsum Resources Materials, LLC Case number (if known 19-14796

 

Name

Ea Inventory, excluding agriculture assets

18.

19.

20.

21.

22.

23.

24.

25.

26.

Does the debtor own any inventory (excluding agriculture assets)?
LI No. Go to Part 6.
Yes. Fill in the information below.

General description Date of the last Net book value of
physical inventory debtor's interest

(Where available)

Raw materials

 

Valuation method used
for current value

 

MM /DD/YYYY $

 

Work in progress

 

MM /DD/YYYY $

 

Finished goods, including goods held for resale
GRM Mine & HGG Sloan and McFarland 06/10/2019 5 18, 100,740.69

 

MM /DD/YYYY

FMV drone Deploy Software

 

Other inventory or supplies

 

 

MM /DD/YYYY

Total of Part 5
Add lines 19 through 22. Copy the total to line 84.

Is any of the property listed in Part 5 perishable?

No

L) Yes

Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
No

L) Yes. Book value Valuation method Current value

Has any of the property listed in Part 5 been appraised by a professional within the last year?

LI No
Yes

Eo Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

28.

29.

30.

31.

32.

Official Form 206A/B

Current value of
debtor’s interest

 

 

 

 

No. Go to Part 7.

L) Yes. Fill in the information below.

General description Net book value of
debtor's interest

(Where available)

Crops—either planted or harvested

Valuation method used

for current value

Current value of debtor’s
interest

 

 

 

 

 

 

 

 

$ $
Farm animals Examples: Livestock, poultry, farm-raised fish

$ $
Farm machinery and equipment (Other than titled motor vehicles)

$ $
Farm and fishing supplies, chemicals, and feed

$ $
Other farming and fishing-related property not already listed in Part 6

$ $

 

 

Schedule A/B: Assets — Real and Personal Property

page 3

 
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Debtor Gypsum Resources Materials, LLC Case number (if known 19-14796

 

 

Name

33. Total of Part 6.
Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

No
L) Yes. Is any of the debtor’s property stored at the cooperative?
L) No
L) Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
No
LI Yes. Book value $ —————————_—«SVailuation method Current value $

36. Is a depreciation schedule available for any of the property listed in Part 6?
No
L) Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
No
L) Yes

Office furniture, fixtures, and equipment; and collectibles

 

 

 

 

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

L) No. Go to Part 8.
Yes. Fill in the information below.

General description Net book value of Valuation method
debtor's interest used for current value

(Where available)

39. Office furniture

Current value of debtor’s
interest

 

 

 

 

 

 

 

 

 

 

 

 

 

Desks file cabinets & credenzas & chairs ¢9 GAAP Dep ¢ 0
40. Office fixtures
$ $
41. Office equipment, including all computer equipment and
communication systems equipment and software
Computer Equipement & Software $ 205,086.18 GAAP Dep $ 205,086.18
42. Collectibles Examp/es: Antiques and figurines; paintings, prints, or other
artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
or baseball card collections; other collections, memorabilia, or collectibles
42.1 $ $
42.2 $ $
42.3 $
43. Total of Part 7. $ 205,086.18

Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

LI No
Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
No
L) Yes

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property

 

 

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Debtor Gypsum Resources Materials, LLC Case number (if known)

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Name

Machinery, equipment, and vehicles

46.

47.

48.

49.

50.

51.

52.

53.

Official Form 206A/B

19-14796

 

 

Does the debtor own or lease any machinery, equipment, or vehicles?

L) No. Go to Part 9.
Yes. Fill in the information below.

General description Net book value of
debtor's interest

Include year, make, model, and identification numbers (i.e., VIN, (Where available)

HIN, or N-number)

Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

Valuation method used
for current value

Current value of
debtor’s interest

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

471 SOFA Part 8 Question 47 (Attachment) g 2,463,461.29 GAAP Dep $ 5,463,461.29
47.2 $ $

47.3 $ $

ATA $ $

Watercraft, trailers, motors, and related accessories Examples: Boats,

trailers, motors, floating homes, personal watercraft, and fishing vessels

4g.1 No $ $

48.2 $ $

Aircraft and accessories

ag. No $ $

49.2 $ $

Other machinery, fixtures, and equipment (excluding farm

machinery and equipment)

SOFA Part 8 Question 50 (Attachment) g 10,868,839.56 GAAP Dep g¢ 10,868,839.56

 

Total of Part 8.
Add lines 47 through 50. Copy the total to line 87.

Is a depreciation schedule available for any of the property listed in Part 8?

LI No
Yes

 

Has any of the property listed in Part 8 been appraised by a professional within the last year?

No
L) Yes

Schedule A/B: Assets — Real and Personal Property

 

 

¢ 16,332,300.85

 

page 5

 
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Debtor Gypsum Resources Materials, LLC Case number (if known 19-14796

Name

Ea Real property

54. Does the debtor own or lease any real property?
L] No. Go to Part 10.
Yes. Fill in the information below.

 

 

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Description and location of property Nature and extent Net book value of Valuation method used Current value of
Include street address or other description such as of debtor’s interest debtor's interest for current value debtor’s interest
Assessor Parcel Number (APN), and type of property in property (Where available)
(for example, acreage, factory, warehouse, apartment
or office building), if available.
55.1 191-19-301-007, 191-19-301-008 &191-19-401-001 Sear YardStoages Transpo g 55,131.98 GAAP Dep $ 55,131.98
55.2 APN: 060-25-1 25-001 MoFarland Yard Storage & Transpor $ 0 n/a $ unkn
55.3 $ $
55.4 $ $
55.5 $ $
55.6 $ $
56. Total of Part 9. § 55,1 31.98

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

 

 

 

57. Is a depreciation schedule available for any of the property listed in Part 9?

LI No
Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
No
L) Yes

ex Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
LY No. Go to Part 11.
Yes. Fill in the information below.

General description Net book value of Valuation method Current value of
debtor's interest used for current value debtor’s interest

(Where available)

60. Patents, copyrights, trademarks, and trade secrets

 

 

 

 

 

 

 

 

 

 

 

 

 

$ $
61. Internet domain names and websites
BDHGypsum.com / Gypsumresources.com $ 0 Internal Est $ 0
62. Licenses, franchises, and royalties
$ $
63. Customer lists, mailing lists, or other compilations
$ $
64. Other intangibles, or intellectual property $
$
65. Goodwill
$ So
66. Total of Part 10. $ 0
Add lines 60 through 65. Copy the total to line 89.

 

 

 

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 6
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Debtor Gypsum Resources Materials, LLC Case number (if known 19-14796

Name

 

 

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

LI No
Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
LI No
Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
No
L) Yes

Ex All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.
No. Go to Part 12.

L) Yes. Fill in the information below.
Current value of
debtor’s interest
71. Notes receivable
Description (include name of obligor)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ => 4
Total face amount doubtful or uncollectible amount ~~ ~
72. Tax refunds and unused net operating losses (NOLs)
Description (for example, federal, state, local)
Tax year $
Tax year __ $ _
Tax year $ _
73. Interests in insurance policies or annuities
So
74. Causes of action against third parties (whether or not a lawsuit
has been filed)
So
Nature of claim
Amount requested $ _
75. Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims
So
Nature of claim
Amount requested $ _
76. Trusts, equitable or future interests in property
So
77. Other property of any kind not already listed Examples: Season tickets,
country club membership
78. Total of Part 11. 0
Add lines 71 through 77. Copy the total to line 90. §—__________

 

 

 

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

LI No
L) Yes

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 7
Debtor

Case 19-14796-mkn

Gypsum Resources Materials, LLC

 

Name

In Part 12 copy all of the totals from the earlier parts of the form.

80.

81.

82.

83.

84.

85.

86.

87.

88.

89.

90

91.

92

Official Form 206A/B

Type of property

Case number (if known)

Current value of
personal property

 

 

 

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Current value
of real property

 

 

 

 

 

 

 

 

 

; nanet | 398,627.57
Cash, cash equivalents, and financial assets. Copy line 5, Part 7. — —
1,271,909.84
Deposits and prepayments. Copy line 9, Part 2. $l"
756,452.41
Accounts receivable. Copy fine 12, Part 3. $_ _—______
. 30
Investments. Copy line 17, Part 4. ee
18,100,740.69
Inventory. Copy fine 23, Part 5. $7
0
Farming and fishing-related assets. Copy line 33, Part 6. $~
Office furniture, fixtures, and equipment; and collectibles. $ 205,086.1 8
Copy line 43, Part 7. ~
16,332,300.85
Machinery, equipment, and vehicles. Copy fine 57, Part 8. $7
55,131.98
Real property. Copy line 56, Part 9. 2 o....cccccccccecccecceeeeeeeceeceeeeeeeceeeeeaeaeeecaseeeecueeeeeneseeesneeetenaes > ae
0
Intangibles and intellectual property. Copy line 66, Part 10. $7
+ 0
. All other assets. Copy line 78, Part 11. $~
36,765,117.54 55,131 98
Total. Add lines 80 through 90 for each column. ............:ccceeeeee 91a. $ + 91b. $= —_______

 

 

 

. Total of all property on Schedule A/B. Lines 91a + 91D = 92. ooo. cece ceeceeeceee ce ee cee eeeaeeeeccaeeesceceseceeeeeceeesecnseeseaees

Schedule A/B: Assets — Real and Personal Property

 

 

g 36,820,249.52

 

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VO PleA SejDIYeA IYHI7 OFZ
seja1yen WUBI] SEZ

WUD siessy pexi4

 

s|e}O1

 

6011200114 Juewdinby g AeulyseW 97Z
80LLL00L1# JUewdinby g AeulYyseW ZZ
OLLLLOOLL# JUewdinby g AeulYyseW €7Z
90LLL00LL# Juewdinby g AeulYyseW 7Z7Z
SOLLLOOLL# JUewdinby g AeulYyseW 122

 

6EQLVLOHBLZZOS16S/OP9LPLOHLZZZAA1L6g Iwas UoBeIg /10Z coor
EPOILVLOHXLZZASL6G/PP9 lL PLOHEZZZAIL6G Iwas uoBeIg /10z coor
6PYLVLOHOLZZASLES/OS9LPLOHPZZZASL6g les UoBeIG Z10Z —- O€O'OKZ
GETLYLOHELZZOS1LG6S/OPZLPLOHZZZZAAL6G lwas UoBeIG /10Z coor
CETLYLOHZLZZOS16S/PETLPLOHLZZZAAL6G Iwas UoBeIG /10Z coor
GBPEOEETLENZESAT | A911 UA Aig YseqeM 9661 coor
606S2G0ZPX600DdX! SBE WIG!818d Z00Z coor
8891 8G O/ZYPSXHSH| 0098 IEVOREUEW] ZL0Z coor
8S978EP OZ UPSXHSHI 0098 IEVOREUEWU] ZL0Z Z0'0vZ
69996EPOSHPSPASH| JeISo1q [UO] ZL.0Z Z0'0vZ
PPPESOPOLYPSPASH| JeIso1q [UO] ZL0Z Z0'0vZ
O9PZPONOONPSTASHE 12}SO4d |EUCHEUIOIW| ZL 0Z Z0'0vZ
SS999GPOVHPSPASH| JeISolq |BUOHEUEU] ZL0Z —«OZO'OKZ
ETBECEPAXUPSPASH| JeISold |EUOHEUEWL] E107 Z0'0vZ
LLGEELPOPHPSPASH| Je}SO1q |PUCHEUIOI| £107 Z0'0vZ
OLGEELPAZHPSPASH| JeIso1q |EUOHEUEWU] EL.0Z Z0'0vZ
GOGEELPAQHPSPASH| JeIso1q |BUOHEUEWU] E107 Z0'0vZ
G9602LNGZHPSHOSHE JeISOl |EUOBLUIBIL] €1.0Z Z0'0vZ
L960 LNGSUPSHOSHE Je}So1q |BUOHEUEWU] EL0Z Loorz —(p) dung wonog uinty ; jaaIg JeI1B41 GL9GaY e2V810Z —«-00'9zZ
ZLEBOOWDLALOMVINL - OXY Z ZXP SIOBUUl YORI 9L0Z LO'0rZ (pL) ding wopog jaeis JoeB, LLLGay e2V810Z —«-00'9zz
L L68OOWDXALOMVIL - OXY Z ZXP BIEL YOR QLOZ LO'0rZ yon 412M JouINYBIe!4 6O0Z =»: hzZ
OLGBOOWDBALOMVINL - OXY Z ZXP SIOBUUI YORI 9L0Z LO'0rZ YOM YOON FOOra sey =—»«-N' "ZZ
BOGBOONDLALOMVINL - OXY Z ZX IOBUUI HORN 9L0Z ~~» OL OFZ Jossaldiuog Jepjayy auBOINY BLEIOY BuIeIS BOOZ —=s-O00" ZZ
LZZBOOWOSALOMVINL - OXY Z ZXP SIDBUUld OR 91.0Z LO'0rZ sduey 9799/3 ZO'ezz ez: Lov'eor's |
OZLBOONDEALOMVINL - OXY Z ZXP PIOBUUI YOR 9L0Z LO'0rZ (IInd *g was) sduing Wopog e\qneg uoBeiq ZO'ezz
ELLBOONQ9ALOMVIL - OXY Z ZXP SISBUUld YOR 9L0Z LO'0rZ (IInd *g was) sduing Wopog e\qneg uoBeiq ZO'ezz
OGELYLOHPZZZA4L6S/68EL PLOHOLZZASL6¢ UoBeIq 110z LO'0rZ (IInd *g was) sduing Wopog e\qneg uoBeiq LOeZZ 06 6Gr'rae'r 22'992'916'2 2\'992'192'9
Z6ELVLOHSZZZA4L6S/16ELPLOHGLZZGSL6¢ UoBeIq £10Z oo'orz (IInd *g was) sduing Wopog e\qneg uoBeiq LO'ezz
ZP9LVLOHSZZZAAL6S/1 POLPLOHOLZZASL6g uoBeIq £L0z oo'orz ZL9CaV JAIL GL0Z LOezz —-Lz'069°S1 62°60€'6 00°000'Sz
Z9ELVLOHXZZZAAL6S/L9E1 PL OHOLZZGS16S UOBeIQ 110Z oo'orz 4OML GN] GOOG YNOMUEy GO0Z Loezz = Lg Zez'zaZ'P 81 6S7'660'Z 2 Ler‘ Lee'9
ZETLYLOHBZZZAALGS/LETLPLOHGLZZASL6S UOBeIq £10Z oo'orz O09 [eUOHEWEW] ZL0Z = OLO'EZZ_—sZN-ZZG'9B 0€'981‘89z Zr eQL'vSe
SL S OND 886L Lo'sez JE{SOlq |BUOHEUOWL] E107 LO'ezz
Bode] BIOKOL LOZ —-OLO'SEZ JE{SOlq |BUOHEUOWL] E107 LO'ezz
BUOde | BIOKOL GLOZ Lo'sez JE{SOlq |BUOHEUOWL] E107 LO'ezz
duuing-puz winuwinjy ss-ge-1 aBewe 910z Lo'sez JE{SOlq |BUOHEUOWL] E107 LO'ezz
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(Ajuo 84/8-UQ) dny2Iq TLA 00SE IND 886L oo'sez JOPIOM SUBD qIDO09 BLEIY BulLeIS g00Z = —«00LZZ_—=s«99'90Z'OF ve v20'sl 00" Lez'ss
ainw pesemey 00'sez yon 972M [26 OOOY JouInYBIe14 600Z —«sAOLZZ_~—Ss«QO'z96‘98 v6 Lvl ‘ce OO'OLL‘OZE
syessy ND al jessy syessy 99H al jessy AGN dag winsoy 6102

 

yuowdnb zy yg Aioulyoew

 

DOH Siessy pexi4

Zp UOHSANDH 8 Hed A/V 902 W404 VWAOS

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Case 19-14796-mkn

Wd 67:9 6LOC/Sc/8

 

VESEGENHGHAGONPAP - JOEL] OZOLVOINA OAIOA 21.07 40° 0¢2
EEGEGBBNHZAHAGONPAP - JOEL] OZOLVOINA OAIOA 2107 40° 0¢2
LEGSEBENHEHAGONPAP - JOPEI] OLOLVOINA OAIOA ZL02 40° 0¢2
O€SEGBNHLHAGONPAP - JOEL OZ9LPOINA OAIOA 2107 40° 0¢2
9CGEGBENHXHAGONPAP - 40192) | OZ 9179 INA OAISCA 2102 040° 072
SCSEBEBNHBHAGONPAP - JOSE OZ9LVOINA OAIOA 21.07 40° 0¢2
VESEBBNHOHAGONPAP - JOEL OZOLPOINA OAIOA 21.07 40° 0¢2
EEBSOONDGALOMYV LAL - JOeIL ZL9NXO ed Aeq MOV 9102 40° 0¢2
LEB8O0IDSALOMV LIAL - JOIDB1L ZL9NXD ded Ae MOVIN 910Z 40° 0¢2
SEBSOONDZALOMYV LIAL - JOeIL ZL9NXO Jed Aeq MOV 9102 40° 0¢2
PEBSOONDOALOMYV LAL - JoeIL ZL9NXO Jed Aeq MOV 9102 90°02
BEBSOOMIOXALOMV LIAL - JOB1L ZLONXD ded ABC MOVIN 910Z 90°02
O€B800NDEALOMYV LIAL - Joe, ZL9NXO Jed Aeq MOV 9102 90°02
BSES00NDEALOMV LIAL - JOeIL ZL9NXO Jed Aeq MOV 9102 90°02
SEBSOONDBALOMYV LAL - JOeIL ZL9NXO JED Aeq MOVIN 9102 090072
€cOL9ESHLOUl MALasl - OGbA PIOd 2102 90°02
9078S1DH1 2270416 - 191/211 dung woyog uobeiq 7102 90°02
GOP8S1DHZ1ZZCS 16S - Joe, duunq woyog uobesg 2102 90°02
vEPSSlOH9ZZZAS 16 - J9|/21 1 dung woyog ucheiq 7107 90°02
S€P8SLOHZIZZAS 16S - Joe, duunq woyog uobesg 2107 90°02
ZEPESLOHZZZZAS 16S - 19/241 dung woyog uoheiq 7107 SO'0re
LEv8SLOHELZZAS 16 - Je|/241 1 duinq woyog uobeiq 7107 SO'0re
8277891 DHOZZZAS16¢ - J9|/21 1 dung woyog uobeiq 7107 SO'0re
2278S1DHI1Z2ZCSL6¢ - Jee, dung woyog uobesg 2107 SO'0re
97P8S1DHZ77704 16S - J9|/21 1 dung woyog uoheiq 7107 0S0'0r2
SZ778S1DH81ZZOS 16 - Je[!e1 1 dung woyog uobesg 2102 SO'0re
verESlOHEZZZAS 16S - 19/211 dung woyog uoheiq 7107 SO'0re
€ZP8SLOHPIZZAS 16 - Jo!e1) dung woyog uobesg 2102 SO'0re
2278S DHXZZZ7041-6G - Jales] dung woyog uobeiq 1107 SO'0re
LZ78S10HOLZZ0S 16¢ - Je|!24 1 dung woyog uobeiq 7102 SO'0re
027891 DH9ZZZAS 16S - 191/211 dung woyog uoheiq 7107 vO 0re
61 78S1DHZ1ZZOS 16S - Je[!e1 1 dung woyog uobesg 2107 vO 0re
817891 DH8Z270416¢ - 191/211 dung woyog uoheiq 7107 vO 0re
2} P8S1DH61ZZ0S 16 - Jo[!e1 1 dung woyog uobesg 2102 vO 0re
ZLBSOOMDPALOMYV LIAL - PPZEXIN - ZL9NXO FED Ae YOR 9107 Ovo Ore
LLZSOONDZALOMVIWL - SPZEXIN - ZLINXD GEO Aeq YOR 9107 vO 0re
OLZ800NQ0ALOMVIAIL - LEZEXIN - ZL9NXO GeO Aeq ORM 9L0Z vO 0re
6OZ800NIDALOMVIINL - O€ZEXIN - ZL9NXD GeO ABq YOR 9107 vO 0re
BOZ800NIDZALOMV LIL - 6ZZEXIN - ZL9NXD FED Ae YOR 9107 vO 0re
2791 7LOHZ1ZZOS 169/879 1-7 OH9ZZZAAL6G lwes uoBeiq 1107 vO 0re
GETZLPLOHOLZZOS16S/9EZ 1 PLOHSZZZ0A 16g lwes uobeiq / 107 £0 0ve
ZE9LPLOHP1ZZOS169/8E91 7 LOHETZZTAAL6G lwes uobeiq / 107 £0 0V2
sjessy WHS dl yessyv syessy DDH di jessy AGN dag uinsoy 6102

 

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O0SZOZMPPLOLNdEN l# 00'Shz
NIA WUE ld JeMOd JOIUNOW 1911211 DE-dH SwWA}SAS SUP 7O0Z
(syony 10j WeyShg Ss) OUI BYBWEA 900Z 00'Shz
JO}ORI | YON LY9 INA OAIOA 810Z Ol-orz
JO}ORI | YON LY9 INA OAIOA 810Z Ol-orz
JO}ORI | YON LY9 INA OAIOA 810Z Ol-orz
JO}ORI | YON LY9 INA OAIOA 810Z 60'0bZ
GZZ8ZBL1E - UCL PLS IEAM elqneg Z11N volleD 000'07 seuBnH 60'0bZ
ZISZZZTOPAZESALT | - JOELL UeA AIG YseqeM ZL07 60'0bZ
ZLEZEQTOZAZESALT | - JOELL UeA AIG YseqeM ZL07 60'0bZ
OZPZEYTOXAZESATT | - JOEL URA AI YSeqeAA ZLOZ —«O60'0PZ
PSSZZZTOBAZESALT | - Jee, UeA AIG YseqeM Z1L07 60'0bZ
LOVZEOTOLCZESALT | - JaleLL UeA AIG yseqeM Z107 60'0bZ
QLPZEQTOZAZESAST | - JOELL UeA AIG YseqeM Z1L07 60'0bZ
LOVZZLTOLAZESALT | - Jee, UeA AIG YseqeM Z1L07 60'0bZ
GBEZZZTOPAZESALT | - Jee, UeA AIG YseqeM Z1L07 60'0bZ
ZEPZZLTOZATESALT | - JOleLL UeA AIG YseqeM ZL07 80°0rz
LBETEQTOLAZESALT | - JOELL UeA AIG YseqeM Z1L07 80°0rz
QBEZEQTOSAZESALT | - JOELL UeA AIG YseqeM Z107 80°0rz
PESTEQTOXAZESAST | - JOELL UeA Aid YseqeAn ZL0Z 80°0rz
GGETEQTOZAZESAIT | - JOELL UeA AIG USeEGeMZLOZ —«OBO' OFZ
PBPZZZTOLAZESALT | - Jee, UeA AIG YseqeM Z1L07 80°0rz
LIGZEQTOZAZESALT | - JOELL UeA AIG YseqeM Z1L07 80°0rz
G8PZ66NP LHAGONPAP - 1019211 OZOLV9INA OAIOA 8102 80°0rz
P8PZE6ENPXHAGONPAP - 10}921L OZOLYIINA OAIOA 810Z 80°0rz
Z8PZ66NP9HAGONPAP - JOWELL OZOLVIINA OAIOA 8L0Z 30°0bz
sjyassy WHS dl yssy syessy DDH al yessy AGN daq uinsoy 6102

 

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DOH Siessy pexi4

Zp UOHSANDH 8 Hed A/V 902 W404 VWAOS

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Wud ? SDH
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LZLSL NWS-802 LO0AO# GIF-Z6ELOOPHO# IEUW@S-LOLG LV9 8L0z 6r0 022
Japeo] 199q1$PHSLVD —- 8¥0'02Z
(AV LE SL pasodsiq) INOANA 00-126€690-100 2¥0'0@Z
feaoys 21NeIPAH = QHO'0ZZ
[le}Sul pue aacwal - WOOg pas WOM GrO 022
sduing aNeIpAH pue auibuz seday g-O10GZLOd +v0 0¢Z
Old Pue BUl|SsAUP UOISSIWSUeI} aoeldal PUB BADWAY “SUBID YIAA YOM] SBIUBYDAW IIIGIA}ad ZOO Cro 022
Joyeaeoxg aNeIpAH OFS-D1O0Id = ZP0'02%
YONI JAJEM INGIA}9q UOHIED COOP 2661 10022
sduund Ja}sooq - 1ea6 yojms/m Sia]ie.j UO Sue} UOIssaiddns jsnp JaZ}MOH enby er (Z) OVO 022
+ 88 PUEPPOY - Jayong JOBAeDXF OGTLOd HY GLOZ MEN Ns}ewWOyY —- GEO OZZ
S60 POPOE N/S ‘SHON INEH UO] OOL SEZGH LVO(Z) —- sed: 0zZ
woog pas) WOM —- £0 02%
(ZL LeZb pasodsiq) 18Z0g 18d LV 9E0'0zZ
SUld Pue ASO} dIYAA JOO] SID = ——-GEN0ZZ
L Jeyoelg jm JAWWEH 0/ZOd “JI9WWEH 4G¥ - OOSGdH O29aPU| asegosiIW :Bulpnau - eGoSG# IELIAS - O/ZOd O29pU| - JAWWeH pug jo sseyoind
MAN - Japeo] [Aa4M NZ6 JeINdIaeD = pEO.OzZ
MAN - Japeo] [aay W086 JeIIdIaeQ = EEN 02Z
100Z6 leuoeUayyl - YON] 1}LAA UOIIED OOF 900Z ~—s- ZEN. 0ZZ
Japeo] P24AA MOG JeINIeD = LEN. 0ZZ
LL0z BW - 0906. TWH ISPOW ‘o1g wnuBbe - aiqemo] aiqe}iog - Jamo] jyBT] —- QEN'02Z
L40z 6yW - O906.L TWH ISPOW ‘o1g winubew - aiqemo] aiqe}iog - Jamo] jyBT] —- 6Z0'02Z
2002 BW - O90E.LTW# I@POW ‘o1g wnuBe - aiqemo] aqe}iog- Jamo] jyB] = 8Z0'02Z
2002 SW - O90E.LTW# I@POW ‘olg winuBey - aiqemo] aqe}iog- Jamo jyB] = 420: 02%
OOFWH UO ajeag ladwng ZMd ~=—_9Z0'02Z
JOBAPDXF OFS-D1008Od Ns}ewoy 440Z ~—- §ZO'0ZZ
- JOJBABDXA OGZLOd JO} Jayong Ul Jeu] aDe4-pleH Ang AABSH ¥Z0 022
sieddiy UIA 19Z0q J-XVSSLG Ns}ewoy = —- €Z0'02Z
XEM AIIM ROW 21295 YBleAA JoeAeOXG = 7Z0.:02%
ssog }snq ©] JaJB AA 104 YUeL JBIEM OAd lI UOTIED COLE 1Z0 0¢2
(9L0z/r2re PAlle}OL) 00G8.L1 Bulaygs - YoNLL Je} UOIIED OOOF 200Z ——-0Z0'0ZZ
Jayealg YIM GLZ Jo}BAeOXy Ns}eWOY ZL0Z = GLO 0ZZ los‘ees'gos‘o1 | yuswidinby AGN I2}0, pues5
(, Mojaq eseyoind Jayong pue saul] Jayang |eUOHIPpe Bas) Jayong YOY PJEA VGN 6 UIAA |PAOUS - 1O}ABDX B-OTOGTLId E10Z BLO OZZ
8002 BW - O90E.L TW I@POW ‘o1g wnuBeW - aiqemo] alqe}iog - Jamo] jyBT] 210: 02%
8002 BW - O90E.L TW I@POW ‘o1g wnuBe - aiqemo] aiqe}iog - Jamo] jyBT] = 9 L002 66 ese ees Ol 997/8'/60'6 GS ESL LE6‘6L SIE}OL
6002 BW - O90E.LTW# I@POW ‘o1g winuBe - aiqemo] aqe}iog - Jamo yBT] = G L0'02Z
2002 BW - O90E.LTW# I@POW ‘olg wnuBey - aiqemo] aqe}iog - Jamo] jyBT] pL 0-02 St p99'v9~ 6G A80'CLS = HL NGL ALP ‘ayq ‘SJOOL SZ
S002 BW - HA Cog0r Tv# ISPOW epluly - aiqemo] jaiqe}iog - Jamo] jyBT] E90: 02% 66589 lr2~ = PFOLZ'OLO'L §=eG aSr'zSE'r jueuidinby @ Assulyoew Buisseo01g 0¢Z
2002 SW - O90E.LTW# I@POW ‘olg winuBey - aiqemo] ja|qe}iog - Jamo] jyBT] —_ ZL.0'02Z 09'€20'06€ b2€80'S61 ve LSL'GeS VO pued jusudinby g Aseulysew SZz
9002 BW - HA Co90r Tv# ISPOW epluly - aiqemo] jaqe}iog - Jamo] yb] L L002 sesse'ocr's 690669402 >EG8Z'SIS'rL jueuidinby g A{seurysew Buu 02Z
dp-uea|9 jueld 104 (IIg-49Nq) Jax9Ng 199} PIS BXF - 69 NG-OZSHS Ns}EWOY GODT —-OLO'0ZZ
Mo|4-uedng ‘oqun, puy Adoued YIM - 198}$ PHS JO 89 NG-OZENS Ns}eWOy GOOZ —-600 02% WUD sjassy paxly
siaddiy YIM 1epel5 JOJO vl S-GGOGD Nsjewoy ——-g00 02%
yONdL INEH Payeinayy UOL Ov €-OOPWH Nsjewoy ZL0Z ~~ 200° 022
MAN - JapeO] [PEYAA MOE JEINIAeQ ~—-»-900'02Z 25 099'SE ge eels fy 682 'cr SIE}OL
pYBiai4 - YONA, JA}EAA UOIIED OOOZ 900Z ~—- G00. 0ZZ
yond, agnTiany WGA}8q 9002 ~—- 00:02 Zeeer'vh 99 026% Se pse'lb Joyes9uay B19e}W0d - PAPSSZLVO Lez
BURID YA ONL SUeYDOW WIGE}eq Z00Z ~—-« COD'0ZZ_—OJBNaUAD a1qe}HOq - IWArSSZLVOd OO LEZ 18 L6S‘OL ge erg'e ZbS€%‘0% WIPHOY [IEPUEID GEGL 0EZ
00SE IPPOW - OOAGNI - 84281 BNEIPAH = Z0002% YIPHOY [lePUeID GE6L 00 0g% GE SES'r LOPOL'L 00'002'S aIeMmo| JaYysem ounsselg £2Z
SLLH LVO - Jexee1g aNNeIPAH ——L00'02Z alqemo| JayseA einsselq 00 222%
sjessy Wud adi }essy sjessy DOH adi }essy AGN deq wnooy 6102 DOH S}assy pexly

0G UOl}SANH g Hed A/W 902 WHO W4AOS

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y 40 @ Jaslel] Wag ajewneud wnuluiNhy 14ND O9G Ter 6L0Z = 46S0 022
y 40 | Jaylel] Wag ajewneud wnuluinhy 14ND 09S 18f 6L0~ = &6S0 02
OF 30 OF HUN Jajeay JOLWeD YM Jajlel| J9J99Y ZOOL X £9 SUE JEAID /00E {gs00ez
OF 40 6 HUN Jajeay JOLUeD YM Jajiel] 19J99Y ZOOL X .€G SUE JEAID /00E 1850 0¢e
OF JO 8 UN Jajeay JOLUeD YM Jajiel| 19J99Y .ZOL X EG SUE EAD /00E + UsGO Oe
OL JO Z UP Jajaey JaLUeD YM Ja]lel] Jajaey ,ZOL x ,€G ued JealD 200% 4H EGo0'0zZ
OF $0 9 HUN) Jajeay JOLUeD YM Jajiel| 19J99Y .ZOL X .€G SUG EAD /00E = 4}8G0 02E
OF JO G HUN Jajeeay JOLUeD YM Jajlel| 19J99Y .ZOL X .€G SURG EAD /00E + —98G0 02e
OF JO FUN Jojeeay JOLUeD YM Jajiel| 19J99Y .ZOL X .€G SURG JEAID /00E PSO Oe
OF JO € HUN) Jojeeay JOLUeD YM Jajiel| 19J99Y .ZOL X EG SURG EAD /00E = —98G0 02E
OF JO @ HUN Jajeay JOLWeD YM Jajiel| 19J99Y .ZOL X .€G SUG EAD /00E + 48G0 Oe
OF JO | HUN Jajeeay JOLUeD YM Jajiel| 19J99Y .ZOL X .€G SURG JEAID /00E BBG Oe
HUN JaJaey JOWED YIM .ZOL X SG Jajey WINIUIWINTY VUZSA AMIN 200@ —- 1260°0%%
HUN JaJaey JOWED YIM ,.ZOL X SG Jajey WINIUIWINTY VUZSA AWN 200@ —_bZG0'0z%
HUN JaJaey JOWED YIM .ZOL X ES Jajey WINIUIWINTY VUZSA ANN 200@ — dzg0'0z7%
HUN JaJa9y JOWED YIM .ZOL X ES Jajay WINIUIWINIY VUZSA AMIN 200@ — 92G0'0%%
Jun Jajeey JaLueg YIM ,ZOL X 6G Jajeay WwNIUIWNTy YYZSA Al uzGo 022
Jun Jajeey JaLueg YIM ,ZOL X 6G Jajeay WwNIUIWNTy YYZSA Al w/G0 022
HUN Jajaey JOWED YIM .ZOL X ES Jajay WNIUIWINTY VUZSA A 120 0¢e
HUN Jajaey JOWED YIM .ZOL X ES Jajay WNIUIWINTY VUZSA A 4250 022
Jun Jajeey JaLueg YIM ,ZOL X 6G Jajeay WwNIUIWNTy YYZSA Al (150 022
Jun Jajeey JaLueg YIM ,ZOL X 6G Jajeay WwNIUIWNTy YYZSA Al G0 022
HUN Jajaey JOWED YIM .ZOL X ES Jajay WNIUIWINTY VUZSA A 4250 022
(BL/€7/8 PAIE}O}) HUN JAJa9y JOLWED YIM ,.ZOL X CG Jajay WINIUIWINTY VUZSA A 6250 0¢z
HUN JaJa9y JOWED YIM .ZOL X CG Jajey WINIUIWINIY VUZSA AWN 200@ —-4260°0%%
HUN JaJa9y JOWED YIM .ZOL X EG Jajey WINIUIWINTY VUZSA ANN 200@ —- 8ZG0'0Z%
HUN JaJa9y JOWED YIM ZOE X SG Jajey WINIUIWINTY VUZSA AWN 200@ — PLGO'0ZT%
HUN JaJa9y JOWED YIM .ZOL X CS Jajey WINIUIWINTY VUZSA AWN 200@ — 22G0'0%%
HUN JaJa9y JOWED YIM .ZOL X CG Jajey WINIUIWINIY VUZSA AWN 200@ — 4ZG0'0%%
HUN J8Ja9y JOWED YIM .ZOL X SG Jajey WINIUIWINTY VUZSA ANN 200@ —- &ZG0'0Z%
€ 40 € AHO H-MOOGX-ALY BOGNY ZL0€ = G9GO'0Ze
40 | AHO H-MOO06X-ALY BOGNY ZL0€ = BQGO'0Ze
40 | AHO H-MOO06X-ALY BIOGNY BLO~ = — PSGO'OZe
40 | AHO H-MOO0GX-ALY BIOGNY BLO~ =—- PSGO'OZ?
40 | AHO H-MOO06X-ALY BIOGNY BLO~ = ISGO'OZ?
40 | AHO H-MOO06X-ALY BIOGNY BLO~ = BGGO'OZe
¥ 40 p JojDeI| Jadaa|g-UON 1 SZPSZL VO elpeased Jouipyblely €10@ — P¥SO'0Z%
¥ 40 ¢ Jo}DeI| Jadaa|g-UON 1 SZPSZL VO elpeaseg Jouipyblely €10@ ~— 2¥G0'02%
¥40Z Jo}DeI| Jadaa|g-UON 1 SZPSZL VO elpeased Jouipyblely C102 — GvG0'0Z%
¥ 40 | Jo}DeI| Jadaa|g-UON 1 SZPSZL VO elpeased Jouipyblely €10@ — B¥S0'0Z%
y 40 p Jaslel] Wag ajewneud WNuIINhY 14IND O9G Ter 8LO~ PESO Oe
y JO € JasIel] Wag aQewNeud WNUIWINKY 14IND O9G Ter 8bLO~ = =—PEGO Oe
Py 40 @ Jaslel] Wag ajewneud WwNuIuINhyY 14ND O9G Ter 8lLO~ eso 0ze
Py 40 | Jaylel] Wag ajewneud wnuluinhy 14ND O9G Ter 8lLO~ BESO Oe
y 40 p Jaslel] Wag aQewneud WNUIWINKY 14IND O9G Ter 8LO~ PESO Oe
y 40 € Jaslel] Wag aQewNeud WNUIWINKY 14IND O9G Ter 8lLO~ = —PES0 Oe
y 40 @ Jaslel] Wag ajQewneud WwNuIWINhY 14IMD O9G Ter 8lLO~ = qZSG0 Oe
y 40 | Jaylel] Wag ajewneud wnuIuInhy 14IND O9G Ter 8bLO~ = =—&ZS0 Oe
000r IWL 42mo 1 346T] OL0% bSo'0ée
€86¢ WNS-00P900FO# CFOZEOONWIGO# IEW S-4r/€ LVO SLO% 0S0 022

sjessy Wud adi }essy sjessy DDH qi yessy AGN deq wnooy 6102

 

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59H Slassy paxiy

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daddoy AA sapeiBdy JoAeauog puy Jojo Ang AAeaH - sjag Beq algeysnipy UAA 09 X .9¢ - eBeyoed JOASAUOD JUR| dau] Jouadns Lo0e%

JayIe}S |PIPeY aldossaja | - OSL X .O¢ JAaYOe]saa] Jousdns ZLO? LO 02

JayOe}S [EIPEY BIGELOq .OOLX.9€ Jouedng Lo 0¢%

Burpuaig AeA WIM 49C-€ - JURId Wee!DS ZX 9 Spldelepag Xela] Lo 0¢%

Buipuayg Ab AA-6 UIA 199d € -JUB|d UBAIDS .OZX.8 Spldeiepag xalo] LO 0&@

Weld ISA dHOO GOOOZOXL B21UeD Xela 00 0¢@

JaYsUD peduy YeYS |EUCZUOH AGeLOd OLELHYD Xa L 00 0¢@

JOJeIBUaD |asalq AAMOOP SUIWWND 00 0F2

peoy-do] 104 ayNyD INO-PeOT LIM JoAeauaD J9y2e]5 |eIPEY GZ 00 0¢@

daddy xal4oury LO G@z

siled91 pasueuy G8Q00drm 18Pe07 |PeUAA W996 00'S

O€LZE9GOL LSZSNGEL# NIA dwey algo, 00'S

SSZLELL N/S O9OEL TWH IPPOW ‘olg wnuBey - [Jews ajqemo] - temo) jY6r] 00'S

ZPSOL LL N/S OOOELTN# PPO ‘olg wnuBew - [Jews ajqemo] - temo) jY6r] 00'S

Jaye, dng pue pee] oseday wnuiwnty jespoW FOV 6LOZ ~=—-920 022

dN POW JUBIEAA WYST] J9811211 ODI1y 966L «G20: 02Z

dN POW JUBIEAA WYST] J98N!e11 ODI1y 966 #20: 02Z

TLdd POW JuBlemM UBT uobeiq 2002 = € 20027

TLdd POW JuBlaM UBT uobeiq 2002 = 20027

dN POW jUBIeAA U6 CAII¥ 9661 120°0¢2

dN POW jwBIeAA USI] CAI 966 020022,

dN POW JwBIeAA UBT] CANT 966 «6 90°0ZZ

dN POW JwBIeAA USI] CAI 966 —- 890077,

dN POW JwBIeAA UB] CAIT'y 966 ——- 290027

dN POW JwBIeAA UBT] CAI 966 —- 990077,

VOSVO lePOW JeuInYBIery ZL0Z =: $90 02Z

QOEZPINA PAIPAZLOZ —- 90:02

XAELEVO JeuNYBiel4 LL0Z = €90:02%

dng dng Ajieg o2uey gooz = dz900zz

ulew dwing Aleg o2uey 700Z 979002

ulew dwing Aljeg o2uey 2002 —- UZ90':02%

ure; dwing Aljeg o2uey 2002 W790 02%

uew dung AIe_ Sd El0~Z —«1Z90"0ZZ

ue dung AIe_ SdO El0Z ~~ AZ9O"OZ

uew dung AIe_ Sd elo ~—-:[Z90'0ZZ

ueW dung AIe_ SdO El0~Z ~~ 'Z90'0ZZ

ue dung AIe_ SdO El0%Z —- UZ9O"0Z

uew dung AIe_ SdO el0ze —6Z90°0z

4911211 ELHO PRN LOZ —- $790 02Z

49}1€11 CLHO PRN LOZ 8790: 02Z

4911211 ELHO PRN LOZ —PZ9O'0ZZ

4911211 ELHO PRN LOZ 9790: 02Z

4911211 ELHO RW LOZ —-4Z90'0ZZ

Pend 009 Jabla}s HI @SeQ EL0Z = BL90:02%

¥ 40 p Jamolg Jae JeUPIeD .6 — PO90'0ZZ

¥ jo ¢ Jamo] JaAUaq JAUPIeES 6 2090 022

y 40 Z Jamolg JeAueq JeUupleD .6 4090 0ZZ

Py Jo | Jamolg JaAUaq JAUPIeES 6 e090 022

y 40 p JIE] Wes HewNeud WNUIWNY 14ND 09S Tf 6LOZ — PESO'0Z%

y 40 € J8}Ie1| Iwas QHeEwNeUd WNUIWNY 14ND 09S TEC 6LOZ 9650 02%
sjessy Wud adi }essy sjessy DOH adi }essy AGN deq wnooy 6102

 

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DOH Sjassy pexl4

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687Z-80# GI OZLGE POW - Yue] [aNZ YAK UEA B JO}eIEUeD MAM OOS! 00SGLOX JeINdiajeo 90°02

JOYSMUD ISA 10} PLD [R9LYDA/J a1qe9 aula, 90 06%

49p924 OZZG OWL UIA URI Japaey 4DA SWIA\sAg yOOY 90°02

jno-peo7 yond] BHEWNAU UO S|IEIPUBH JO} [29)S 90 06%

Jeyung no-peoc ‘siokeaog Jovedng MAN JO} AAA 90 06%

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Case 19-14796-mkn

 

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Case 19-14796-mkn Doc104 Entered 08/26/19 17:11:41 Page 17 of 55

Fill in this information to identify the case:

 

Debtor name Gypsum Resources Materials, LLC

 

District of Nevada
(State)

United States Bankruptcy Court for the:

19-14796

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property 12/45

Be as complete and accurate as possible.

Case number (If known):

LJ Check if this is an
amended filing

 

 

 

1. Do any creditors have claims secured by debtor’s property?
() No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
@ Yes. Fill in all of the information below.

iio List Creditors Who Have Secured Claims

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
secured claim, list the creditor separately for each claim.

Column A Column B
Amount of claim Value of collateral
Do not deduct the value that supports this

 

 

 

 

 

 

 

 

 

 

 

of collateral. claim
Fz] Creditor’s name Describe debtor’s property that is subject to a lien
SOFA Schedule 206D Part 1 (Attachment) $ $
Creditor’s mailing address
Describe the lien
Creditor’s email address, if known Is the creditor an insider or related party?
CL) No
es
Oy
Date debt was incurred _ Is anyone else liable on this claim?
Last 4 digits of t L Wo
aSt 4 digits oF accoun QO Yes. Fill out Schedule H: Codebtors (Official Form 206H).
number a
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
same property? Check all that apply.
4 No . ao . . . Q) Contingent
Yes. Specify each creditor, including this creditor, OQ Unliquidated
and its relative priority. QO Disputed
12.2] Creditor’s name Describe debtor’s property that is subject to a lien
$ $

 

 

 

Creditor’s mailing address

 

 

Describe the lien

 

 

Creditor’s email address, if known Is the creditor an insider or related party?
CL) No

CL) Yes

Is anyone else liable on this claim?
CL) No

 

Date debt was incurred

Last 4 digits of account
number

Do multiple creditors have an interest in the
same property?
QL) No
CL) Yes. Have you already specified the relative
priority?
CL) No. Specify each creditor, including this
creditor, and its relative priority.

 

 

LJ Yes. The relative priority of creditors is
specified onlines

CL) Yes. Fill out Schedule H: Codebtors (Official Form 206H).

As of the petition filing date, the claim is:
Check all that apply.

Q) Contingent

(J) Unliquidated
Q) Disputed

3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional

Page, if any.

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

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page 1of_
Case 19-14796-mkn

Debtor

Gypsum Resources Materials, LLC

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Case number (if known) 19-14796

 

Name

Additional Page

 

Column A Column B
Amount of claim Value of collateral

 

Do not deduct the value that supports this
of collateral. claim

Copy this page only if more space is needed. Continue numbering the lines sequentially from the

previous page.

f2._| Creditor’s name

 

Creditor’s mailing address

 

 

Creditor’s email address, if known

 

Date debt was incurred

Last 4 digits of account
number

Do multiple creditors have an interest in the

same property?

QL) No

CL) Yes. Have you already specified the relative
priority?

CL) No. Specify each creditor, including this
creditor, and its relative priority.

 

 

 

LJ Yes. The relative priority of creditors is
specified onlines

2] Creditor’s name

 

Creditor’s mailing address

 

 

Creditor’s email address, if known

 

Date debt was incurred

Last 4 digits of account
number

Do multiple creditors have an interest in the
same property?

CL} No

CL) Yes. Have you already specified the relative
priority?

CL) No. Specify each creditor, including this
creditor, and its relative priority.

 

 

 

LJ Yes. The relative priority of creditors is
specified onlines

Official Form 206D

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

Describe debtor’s property that is subject to a lien

 

 

 

Describe the lien

 

Is the creditor an insider or related party?
CL) No
CL) Yes

Is anyone else liable on this claim?
QO) No
CL) Yes. Fill out Schedule H: Codebtors (Official Form 206H).

As of the petition filing date, the claim is:
Check all that apply.

Q) Contingent
(J Unliquidated
Q) Disputed

Describe debtor’s property that is subject to a lien

 

 

 

Describe the lien

 

Is the creditor an insider or related party?
CL) No
CL) Yes

Is anyone else liable on this claim?
QO) No
CL) Yes. Fill out Schedule H: Codebtors (Official Form 206H).

As of the petition filing date, the claim is:
Check all that apply.

Q) Contingent
(J) Unliquidated
Q) Disputed

page__of__
Case 19-14796-mkn Doc104 Entered 08/26/19 17:11:41 Page 19 of 55

Gypsum Resources Materials, LLC. 19-14796

Debtor Case number (if known)

 

 

Name

Ea List Others to Be Notified for a Debt Already Listed in Part 1

 

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

On which line in Part 1 Last 4 digits of
did you enter the account number
related creditor? for this entity

Name and address

Yonah Dror
Wolf Rifkin Shapiro Schulman & Rabikin LL Line 2. 12
11400 Olympic Blvd., 9th FL., Las Angeles, CA 90064

 

 

 

Line 2.

 

 

 

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Form 206D Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page__of__
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Case 19-14796-mkn

Fill in this information to identify the case:

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Gypsum Resources Materials, LLC

Debtor

 

United States Bankruptcy Court for the:

Case number _19-14796

District of Nevada
(State)

 

(If known)

 

Official Form 206E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

LJ Check if this is an
amended filing

12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts

on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases

(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach

the Additional Page of that Part included in this form.

} Part 4: | List All Creditors with PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

LJ No. Go to Part 2.
Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

Priority creditor’s name and mailing address
SOFA Form 206 E/F Sections 1 (Attached)

Total claim

As of the petition filing date, the claim is: $ $

Priority amount

 

Check all that apply.

 

CY Contingent

 

() Unliguidated
C) Disputed

 

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )

Priority creditor’s name and mailing address

Basis for the claim:

 

Is the claim subject to offset?
UL) No
OL) Yes

As of the petition filing date, the claim is: $ $

 

Check all that apply.

 

C) Contingent

 

() Unliguidated
C) Disputed

 

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )

Priority creditor’s name and mailing address

Basis for the claim:

 

Is the claim subject to offset?
L) No
OL) Yes

As of the petition filing date, the claim is: $ $

 

Check all that apply.

 

C) Contingent

 

() Unliguidated
C) Disputed

 

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )

Official Form 206E/F

Basis for the claim:

 

Is the claim subject to offset?
UL) No
OL) Yes

Schedule E/F: Creditors Who Have Unsecured Claims

page 1of_
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Case number (if known)

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Name

a Additional Page

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Debtor

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )

Official Form 206E/F

 

 

 

 

 

previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.  Ttal claim Priority amount
Priority creditor’s name and mailing address $ $
As of the petition filing date, the claim is:
Check all that apply.
C) Contingent
Q) Unliquidated
C) Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account Is the claim subject to offset?
number ee UL) No
UL) Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )
Priority creditor’s name and mailing address $ $
As of the petition filing date, the claim is:
Check all that apply.
C) Contingent
Q) Unliquidated
C) Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account Is the claim subject to offset?
number ee LI No
UL) Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )
Priority creditor’s name and mailing address $ $
As of the petition filing date, the claim is:
Check all that apply.
C) Contingent
() Unliquidated
C) Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account Is the claim subject to offset?
number ee LJ) No
Oy
Specify Code subsection of PRIORITY unsecured °s
claim: 11 U.S.C. § 507(a) ( )
Priority creditor’s name and mailing address $ $

 

As of the petition filing date, the claim is:
Check all that apply.

C) Contingent

Q) Unliquidated

C) Disputed

Basis for the claim:

 

Is the claim subject to offset?
QL) No
OL) Yes

Schedule E/F: Creditors Who Have Unsecured Claims

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Case number (if known)

 

Name

Er List All Creditors with NONPRIORITY Unsecured Claims

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3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority

unsecured claims, fill out and attach the Additional Page of Part 2.

Nonpriority creditor’s name and

mailing address

SOFA Form 206 E/F Sections 2 (Attached)

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor’s name and

mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor’s name and

mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor’s name and

mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor’s name and

mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor’s name and

mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

As of the petition filing date, the claim is:

Check all that apply.
C) Contingent
C) Unliquidated
C) Disputed

Basis for the claim:

Amount of claim

 

Is the claim subject to offset?
UO) No
U Yes

As of the petition filing date, the claim is:

Check all that apply.
C) Contingent
C) Unliquidated
C) Disputed

Basis for the claim:

 

Is the claim subject to offset?
U) No
U Yes

As of the petition filing date, the claim is:

Check all that apply.
CI Contingent
C) Unliquidated
C) Disputed

Basis for the claim:

 

Is the claim subject to offset?
U) No
U Yes

As of the petition filing date, the claim is:

Check all that apply.
C) Contingent
CY Unliquidated
C) Disputed

Basis for the claim:

 

Is the claim subject to offset?
U) No
U Yes

As of the petition filing date, the claim is:

Check all that apply.
CI Contingent
C) Unliquidated
C) Disputed

Basis for the claim:

 

Is the claim subject to offset?
UO) No
U Yes

As of the petition filing date, the claim is:

Check all that apply.
C) Contingent
C) Unliquidated
C) Disputed

Basis for the claim:

 

Is the claim subject to offset?
U) No
U Yes

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor Case number (if known)

 

 

Name

aa Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

Amount of claim

Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is:
Check aif that apply. $
Contingent
Unliquidated
Disputed
Liquidated and neither contingent nor
disputed

 

OOO

 

 

Basis for the claim:

Is the claim subject to offset?

~~ No
ee CL) Yes

Date or dates debt was incurred

Last 4 digits of account number

 

3. Nonpriority creditor’s name and mailing address

 

 

As of the petition filing date, the claim is:

Check all that apply. $
C) Contingent

CY Unliquidated

C) Disputed

 

 

 

 

 

Basis for the claim:

Is the claim subject to offset?

————~ OQ No
ee CL) Yes

Date or dates debt was incurred

Last 4 digits of account number

 

Nonpriority creditor’ d mailing add
onpriority creeltor's name ane’ mating aderess As of the petition filing date, the claim is:

Check all that apply. $
C) Contingent

(J) Unliquidated

C) Disputed

 

 

 

 

Basis for the claim:

Is the claim subject to offset?

LU) No
Last 4 digits of account number a U Yes

Date or dates debt was incurred

Nonpriority creditor’s name and mailing address . - —.
— As of the petition filing date, the claim is:

Check all that apply.
C) Contingent
C) Unliquidated
C) Disputed

 

 

 

 

Basis for the claim:

Is the claim subject to offset?
U) No
—— U Yes

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor’s name and mailing address . - —.
— As of the petition filing date, the claim is:

Check all that apply. $
C) Contingent

(J) Unliquidated

C) Disputed

 

 

 

 

Basis for the claim:

Is the claim subject to offset?

~~ No
ee CL) Yes

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page __ of
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Debtor Case number (if known)

 

 

Name

a List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Name and mailing address On which line in Part 1 or Part 2 is the Last 4 digits of
related creditor (if any) listed? account number, if
any
4.1. None Line _

 

Q) Not listed. Explain — —

 

 

 

42. Line

 

Q) Not listed. Explain — —

 

 

 

43. Line

 

Q) Not listed. Explain — —

 

 

 

44. Line

Q) Not listed. Explain — —

 

 

 

 

A1. Line

 

 

Q) Not listed. Explain — —

 

 

45. Line

 

Q) Not listed. Explain — —

 

 

 

46. Line

 

Q) Not listed. Explain — —

 

 

 

AT. Line

 

Q) Not listed. Explain — —

 

 

 

48. Line

Q) Not listed. Explain — —

 

 

 

 

49. Line

 

Q) Not listed. Explain — —

 

 

 

4.10. Line

 

Q) Not listed. Explain — —

 

 

 

Line

 

Q) Not listed. Explain — —

 

 

 

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page__ of
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Name

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Case number (if known)

eS Additional Page for Others to Be Notified About Unsecured Claims

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Name and mailing address

_ None

On which line in Part 1 or Part 2 is the
related creditor (if any) listed?

Line _

 

Q)

 

 

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Official Form 206E/F

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Explain

 

Schedule E/F: Creditors Who Have Unsecured Claims

Last 4 digits of
account number,

if any

page__ of
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Case number (if known)

 

Name

 

Es Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Total of claim amounts

,1,412,945.32

5a. Total claims from Part 1 5a.

.2,931,041.27

5b. Total claims from Part 2 5b. +

 

5c. Total of Parts 1 and 2 ,4,343,986.59

. 5c. J
Lines 5a + 5b = 5c.

 

 

 

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Case 19-14796-mkn

 

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AWJOUd-UON ooze PSO8OLS — SLOZ/ZOFLL LOSL6 YO POIPEN Leb | X08 Od peoy ASG 9H
AWUOUd-UON 19.969 L-LOPPLLG — SLOZSLOFLL LOSL6 YO POIPEN Leb | X08 Od peoy ASG 9H
AWJOUd-UON co-gpe €SPL615 — SLOZ/LOILL LOSL6 YO POIPEN Leb | X08 Od peoy ASG 9H
AWOUd-UON sos BSEL61G — SLOZ/LOMLL LOSL6 YO POIPEN Leb | X08 Od peoy ASG 9H
AWOUd-UON zo ger -OLSPLLG — SLOZ/LOMLL LOSL6 YO POIPEN Leb | X08 Od peoy ASG 9H
AWOUd-UON cepts L-OESPLLG — SLOZSLOFLL LOSL6 YO POIPEN Leb | X08 Od peoy ASG 9H
AWOUd-UON zo ger OSELBLG — SLOZ/LOFLL LOSL6 YO POIPEN Leb | X08 Od peoy ASG 9H
AWOUd-UON gos L-O6S6LG — 8LOZ/LOFLL LOSL6 YO POIPEN Leb | X08 Od peoy ASG 9H
AWJOUd-UON goes SSELBLG — SLOZ/LOILL LOSL6 YO POIPEN Leb | X08 Od peoy ASG 9H
AWUOUd-UON 9.962 L-ZbPOLLS — SLOZSLOFLL LOSL6 YO POIPEN Leb | X08 Od peoy ASG 9H
A\UOUg-UON gg¢u1 peceler — LL0z/9z/90 S258 ZV SIEPSHOOSPY Elepspoos N SZZ0Z ail junoasiq Wyo
A\WOUd-UON  go'00s"¢ BLozreL/90 8LL68 AN SeB8A Se71002 S1INS PEON IIPSSNY M LOLP Aqyent sy Jo Jueuqsedeq 99H
A\WOUd-UON  gzeis'zr oogee 6 L0z/0z/01 8LL68 AN SeB8A Se71002 S1INS PEON IIPSSNY M LOLP Aqyent sy Jo Jueuqsedeq Wyo
A\WOUd-UON  gzeis'zr eesee — 6L0z/0z/6e0 8LL68 AN SeB8A Se71002 S1INS PEON IIPSSNY M LOLP Aqyent sy Jo Jueuqsedeq Wyo
A\WOUd-UON  gzeis'zr gesee  Lozrozrio 8LL68 AN SeB8A Se71002 S1INS PEON IIPSSNY M LOLP Aqyent sy Jo Jueuqsedeq Wyo
A\WOUd-UON  90:000'r% BLozreL/90 8LL68 AN SeB8A Se71002 S1INS PEON IIPSSNY M LOLP Aqyent sy Jo Jueuqsedeq Wyo
A\WOUd-UON 92 z69"¢ who Aine — ghozserso 9@0@-ZOLL9 11 UOJGuILOO|genueAy epUEMO] ULON 4010202 X08 O'd eroueuly Aquno3 Wwuo
A\UOUd-UON  jo08L'r glozeunr —gLozyog/go 920-2019 11 UOJGuILO|genueAy epUEMOL YON G0Z10202 X08 O'd eroueuly Aquno3 Wwuo
A\WOUd-UON  gy6rr'¢ 810250 — gLOZ/LErgo 0ZOZ-ZOLLY 7 LO]BUIWO| genUBAY ePUEMOL ULON GOL 10202 X08 O'd eroueuly Aquno3 Wyo
A\UOUd-UON zy pzg'¢ 8L0Z 60 gL0Z/0ErrO 0ZOZ-ZOLLY 7 LOIBUIWIOO| genUeAY ePUEMOL ULON GOL 10202 X08 O'd eroueuly Aquno3 Wyo
A\WOUd-UON  7z499"¢ 810% 20 gL0Z/0ErrO 0ZOZ-ZOLLY 7 LO]BUIWOO| genUBAY ePUEMOL ULON GOL 10202 X08 Od eroueuly Aquno3 Wyo
A\WOUd-UON  gg'9¢6"¢ 8L0% FO gLOZ/0ErrO 0ZOZ-ZOLLY 7 VO]BUIWIOO| genUBAY ePUEMOL ULON GOL 10Z02 Xd O'd eroueuly Aquno3 Wyo
A\UOUd-UON  gzr6z"r 8L0Z 10 gL0Z/0ErrO 0ZOZ-ZOLLY 1] LO]BUIWOO| genUBAY ePUEMOL ULON GOL 10Z02 X08 O'd eroueuly Aquno3 Wyo
A\UOUd-UON gp pso'g LL0Z ZL LLOZ/LVEL 0ZOZ-ZOLLY 7] VOJGuWOo| genueAy ePUEMOL ULON GOL 10Z0Z XG O'd eroueuly Aquno3 Wyo
A\WOUd-UON 97967 LL0Z OL —-LbOZ/LVE| 0ZOZ-ZOLLY 7] VOJGuWO| genuBAy ePUEMOL ULON GOL 10202 Xd O'd eroueuly Aquno3 Wyo
A\WOUd-UON  gg'e¢9°z LLOZ LL LbOZ/LEL 0ZOZ-ZOLLY 7] VOJGuWOo| genueAy ePUEMOL ULON GOL 10202 Xd O'd eroueuly Aquno3 Wyo
A\WOUd-UON  gg'gee'e 6zSPL  SLOZ/LOFL LE 19826 VO SBLEIOF || AINS “SAV EIISIEY “M ShLL (¥49) selelossy 99H
eouel|dwio7 Buquodey Jewinsuo7,
A\UOUd-UON go-go) alerL — gLoz/Lorol 19826 VO SBLEIOF || AINS “SAV EIISIEY “M ShLL (¥49) selelossy 99H
uetidiio) BulodeM Jewnsuo7
Auoud unle]D [BIOL wnN ajeg sselppy opus, rere)

AJWOUd-UON Z Hed @ AOUd | Wed SUIIeID peinoesuN 4/4 90Z W0d V4OS
|leyaq souRleg Jopua,A
OT1 ‘sjeveyew saoinosey uinsdAy
41 Page 39 of 55

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65°986'ere'b
00°000‘6¢

00 06€'T

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Oo ELS'S

wile}

Jeq0) pues
S986 VO Aa|paoyz Te SuluUeW J OEIT
sag neAM
T7168 AN Se8aA SeTO6Z# CY OSUIWE]4 3 O€GE
Ayayes aPIM PHOM
LLvb-0€068 AN ‘SeBaA Se] YON peoy Jaly Geve
UeUIS}OIS SWeNAA
80859 LiNoss![| pjaljSulids 9EQ0T xog Od
ONI 2YyBial4 JOJO] [eQUaD ISAM
ssaippe/M AMON JopuaA = We]

9T 40 p aBed

Aquoud { Auedwioy

 

 

 

 

 

 

 

AWOLId-UON ge9zg W3d61621 6 L0Z/6Z/10 sn ogze6 VO AeKld © X08 Od DU] SOIUBYD9 | SIN WHS:
AWOLId-UON  gz-z6z AgslOrZ+ — BLOZ/LOFLO sn ogze6 VO AeKld © X08 Od DU] SOIUBYD9 | SIN WHS:
AWOLId-UON  g6'e6z'2 W3d8b6221 — 6LOZ/L0/L0 sn ogze6 VO AeKld © X08 Od DU] SOIUBYD9 | SIN WHS:
AWOLId-UON og ese caslszl = BLOz/LOrLO sn ogze6 VO AeKld © X08 Od DU] SOIUBYD9 | SIN WHS:
AWOLd-UON oo z6z Caslezzl 6 L0Z/LOFLO sn ogze6 VO AeKld © X08 Od DU] SOIUBYD9 | SIN WHS:
AWOLId-UON goose casrezl — BLOz/LarLO sn ogze6 VO AeKld © X08 Od DU] SOIUBYD9 | SIN WHS:
A\WOUd-UON 1 gz90'2 L-6968Z00Sd 0/92/21 06068 AN seBe, se7 YONPEOY LOBEI9O gege Auedwog quauidinb3 [lequilyy 99H
A\UOUd-UON  go'gag ana leg l-196/2008d LL0z/2z/e1 O€068 AN SeBeA S27 YONPEOY LOBEI90 Bese Auedwog quauidinb3 [lequilyy 90H
A\UOUd-UON pg ozr \-908ez00Sd —L40z/@z/e1 06068 AN seBe, se7 YONPEOY LOBEI9O gege Auedwog quauidinb3 [lequilyy 99H
A\uOoUd-UON  zez98 \-1898Z0SOd — LLOZ/SLIZL 06068 AN seBe, se7 YONPEOY LOBEI9O gege Auedwog quauidinb3 [lequilyy 99H
A\WOUd-UON poz9 L-O8/Z0OSd —LLO/EZILL 06068 AN seBe, se7 YONPEOY LOBEI9O gege Auedwog quauidinb3 [lequilyy 99H
A\UOUd-UON yoigt V-181/Z00Sd — LLOZ/EOFLL 06068 AN seBe, se7 YONPEOY LOBEI9O gege Auedwog quauidinb3 [lequilyy 99H
A\uOUd-UON 61099") \-0F09Z00Sd —LLOZ/LOFLL 06068 AN seBe, se7 YONPEOY LOBEI9O gege Auedwog quauidinb3 [lequilyy 99H
A\WOUd-UON  g¢9z V-BLE9ZOOSd —LLOZSLOFLL 06068 AN seBe, se7 YONPEOY LOBEI9O gege Auedwog quauidinb3 [lequilyy 99H
A\UOUd-UON 9 ¢ez"p QLe0eoldd —6L0zez/G0 06068 AN seBe, se7 YONPEOY LOBEI9O gege Auedwog quauidinb3 [lequilyy Wyo
A\WOUd-UON  zeLge'zi ZLQ0C0LDd BL 0z/ez/G0 06068 AN seBe, se7 YONPEOY LOBEI9O gege Auedwog quauidinb3 [lequilyy Wyo
A\WOUd-UON  g1zge'z 1ZG001Dd — 6L0z/0z/G0 06068 AN seBe, se7 YONPEOY LOBEI9O gege Auedwog quauidinb3 [lequilyy Wyo
A\uOUd-UON  gyt9z") zs0e0lDd — 6L0z/0z/G0 06068 AN seBe, se7 YONPEOY LOBEI9O gege Auedwog quauidinb3 [lequilyy Wyo
A\UOUd-UON gi oly BOGB9EENINAT 6 LOz/Pz/G0 WSNO068 AN S262, S27 YONPEON 88807 gE0E Auedung seleg YuOMuey} Wyo
AWOLd-UON ep Lz0'02 ObLZZZESINAT — 6L0Z/L0/rO. WSNOEOEE AN SeBeA S27 YJONPEOY 88807 CE0E Auedu09 S8|2g YOMUS WHS:
AWOLId-UON  gz-g6r'9 L2ZLSeeLAdo1s — 6LOz/90/ZO WSNOEOEE AN SeBeA S27 YJONPEOY 88807 CE0E Auedu09 S8|2g YOMUS WHS:
A\UOUd-UON  g¢z9z O/SLZLELNINAT 6402/40/10 WSNO068 AN S262, S27 YONPEON 88807 gE0E Auedung seleg YuOMuey} Wyo
AWOL-UON ge LeL's- SBLZLOELWONAT = 6LOZ/LOrLO WSNOEOEE AN SeBeA S27 YJONPEOY 88807 CE0E Auedu09 S8|2g YOMUS WHS:
AWOLId-UON gz 088'2z LeprSLESINAT — 8L0Z/Z2/ZL WSNOEOEE AN SeBeA S27 YJONPEOY 88807 CE0E Auedu09 S8|2g YOMUS WHS:
A\UOUd-UON gg e121 OBPBELETNAT SLOZILLZL WSNO068 AN S262, S27 YONPEON 88807 gE0E Auedung seleg YuOMuey} Wyo
A\UOUd-UON  z¢'¢19°9 LOPSZLESINAT — gLOz/rOIZL WSNO068 AN S262, S27 YONPEON 88807 gE0E Auedung seleg YuOMuey} Wyo
A\WOUd-UON  ge6ig- LESSBLELWONAT  SLOziPLLL WSNO068 AN S262, S27 YONPEON 88807 gE0E Auedung seleg YuOMuey} Wyo
A\WOUd-UON  jgeci'¢ LL69P/ZS1NAT 8102/40/60 WSNO068 AN S262, S27 YONPEON 88807 gE0E Auedung seleg YuOMuey} Wyo
A\WOUd-UON  ¢7-z96'¢ SZOL9BZSINAT 8102/10/60 WSNO068 AN S262, S27 YONPEON 88807 gE0E Auedung seleg YuOMuey} Wyo
A\WOUd-UON  zegee'g ZS¢608ZONNAT _gLoz/Loreo WSNO068 AN S262, S27 YONPEON 88807 gE0E Auedung seleg YuOMuey} Wyo
AQUOUd-UON gy yz2'z QLI6LEZSINAT 8102/10/60 WSNO068 AN S262, S27 YONPEON 88807 gE0E Auedung seleg YuOMuey} Wyo
AWOLg-UON oo0oL't O69POBZLNINAT — 8LOZ/L0/60 WSNOEOEE AN SeBeA S27 YJONPEOY 88807 CE0E Auedu09 S8|2g YOMUS WHS:
AWOLg-UON 2z-L60"L LPESGBZLOINAT — BLOZ/L 0/60 WSNOEOEE AN SeBeA S27 YJONPEOY 88807 CE0E Auedu09 S8|2g YOMUS WHS:
A\WOUd-UON gece Q666S/ZLDINAT 8402/40/60 WSNO068 AN S262, S27 YONPEON 88807 gE0E Auedung seleg YuOMuey} Wyo
AWOLId-UON ¢z902"L1 O6SZ18ZONNAT — 8 02/0/60 WSNOEOEE AN SeBeA S27 YJONPEOY 88807 CE0E Auedu09 S8|2g YOMUS WHS:
AWOLId-UON Le y6e'z9 Kenige4 — ozoziS 20 8190-PEL68 AN “S268 827 ‘OP| “@1S “AUG POOMIIIH S4g6 goueinsu| Jeupeey Wwuo
AWOLId-UON Le y6e'z9 Auenuer — ozozysi/Lo 8190-PEL68 AN “S268 827 ‘OP| “@1S “AUG POOMIIIH S4g6 goueinsu| Jeupeey Wwuo
AWOLId-UON Le y6e'z9 Jequieseqg — 6 L0Z/SL/ZL 8190-PEL68 AN “S268 827 ‘OP| “@1S “AUG POOMIIIH S4g6 goueinsu| Jeupeey Wwuo
AWOLId-UON Le y6e'z9 JOQUIEAON — BLOZISL/LL 8190-PEL68 AN “S268 827 ‘OP| “@1S “AUG POOMIIIH S4g6 goueinsu| Jeupeey Wwuo
A\WOUd-UON 1 ¢p6e'9 e020 BLOZ/SL/OL 8190-PEL68 AN “S268 827 ‘OP| “@1S “AUG POOMIIIH S4g6 goueinsu| Jeupeey Wwuo
AWOLId-UON Le y6e'z9 Jequeides — 6L0z/61/60 8190-PEL68 AN “S268 827 ‘OP| “@1S “AUG POOMIIIH S4g6 goueinsu| Jeupeey Wwuo
A\WOUd-UON 1 ¢p6e'9 ysn6ny 6 Lozys1/e0 8190-PEL68 AN “S268 827 ‘OP| “@1S “AUG POOMIIIH S4g6 goueinsu| Jeupeey Wwuo
A\UOUd-UON 1 ¢r6e'z9- BLE LeUIUO Pd — 6102/50/20 8190-PEL68 AN “S268 827 ‘OP| “@1S “AUG POOMIIIH S4g6 goueinsu| Jeupeey Wwuo
A\WOUd-UON  go-zie'g indy — 6Lozretreo W'S NPZOS-LOZES IM SBHNEMIINZOS XOG Od Auedwo9 eoueunsu| euewiny{ Wwuo
A\WOUd-UON 20:120"r yoeW — 6Loz/6LZo W'S NPZOS-LOZES IM SBHNEMIINZOS XOG Od Auedwo9 eoueunsu| euewiny{ Wwuo
A\WOUd-UON  goo0e 6LZOL —LLOZILLOL 6E168 AN 'sebeA se’palg smjeseq UNOS OSL ‘O71 80IAI8g 8ueJ9 §,L0IsNOH 99H
A\WOUd-UON zz 09¢'6L 610z/6z/0 VSMLLES-€0168 AN SeGeq Se7PY LUAM Sgr ‘DU| SIEIUBY 18H Wyo
A\UOUd-UON  gy-¢6g"r 610z/6z/0 VSMLLES-€0168 AN SeGeq Se7PY LUAM Sgr ‘DU| SIEIUBY 18H Wyo
A\UOUd-UON gi gi6'L fe — 6L0Z/L0G0 9rS6-72006 WO sejebuYy SOT9”S6PL XOg Od ePeABN JO Ueld WIEPH 90H
A\WOUd-UON  yeo6r'eL dy — 6LozsLorro 9rS6-72006 WO sejebuYy SOT9”S6PL XOg Od ePeABN JO Ueld WIEPH 90H
A\WOUd-UON pp sgu're fe — 6L0Z/L0G0 9rS6-72006 WO sejebuYy SOT9”S6PL XOg Od ePeABN JO Ueld WIEPH Wwuo
A\WOUd-UON 6 Ly9'2z qld 6LozrLorro 9PS6-F 2006 V9 SelsbuYy SO79PSEr/ XO O'd ePeABN JO Ueld WIEPH Wyo
A\UOUd-UON geegs") Lessors —LLOZ/OLOL 22L7S VI WopusHegozZ Og O dLOgH Ideq “OU “eJUPWLOAUZ OZH [eJueWUONAUZ OZH 99H
A\UOUd-UON  goost V8L-DOH — gLozzze, 116 WO VNIQWS¥d 299r2% V1 _LdSGAOANOD Vad 'ONI LNIOdASNO. AOANOD Wad ‘2U| JUDdAe19 99H
A\UOUd-UON py z9g VOl-D9H — gLozizze) /}6 WO VNIOWS¥d 299r2% V1 _LdSGAOANOD Vad 'ONI LNIOdASNO AOANOD Wad ‘2U| JUDdAe19 99H
A\UOUd-UON  zo'9¢¢ V82-D9H — gLozizze) /}6 WO VNIQWS¥d 299r2% V1 _LdSGAOANOD Vad ‘ONI LNIOdASNO. AOANOD Wad ‘2U| JUDdAe19 99H
A\UOUd-UON  goog¢ VEE-DOH — gLozizzie) +16 WO VNIQWS¥d 299r% V1 _LdSGAOANOD Vad ‘ONI LNIOdASNO. AOANOD Wad ‘2U| JUDdAe19 99H
A\UOUd-UON  g0'9%¢ V62-D9H — gLozizzie) +16 WO VNIQWS¥d 299r2 V1 _LdSGAOANOD Vad 'ONI LNIOdASNO. AOANOD Wad ‘2U| JUDdAe19 99H
A\UOUd-UON  gg'ezg VZE-DOH — gLozzee) /}6 WO VNIQWS¥d 299r% V1 _LdSGAOANOD Vad ‘ONI LNIOdASNO. AOANOD Wad ‘2U| JUDdAe19 99H
A\UOUd-UON  goog¢ V9-D9H — gbozezz) bL6 VO WNACVSWd 299P2 V1 LdaGAOANOO Wad “ONILNIOdASYO AOANOD Wad ‘2U| JUDdAe19 99H
A\UOUd-UON  goog¢ V6-O9H  gbozeziz) bL6 V2 WNACGVSWd 299¥2 V1 LdaGAOANOO Wad “NI LNIOdASYO AOANOD Wad ‘2U| JUDdAe19 99H
A\UOUd-UON  go'gor ZIZOOH — ghOz/eZL bL6 VO WNSGWSWd 249r2 W1L daCAOANO2 WAG "ONI LNIOdASYS AOANOD Wad ‘2U| JUDdAe19 99H
A\UOUd-UON  go09z ZEL-OOH —gLOZIeHZL bE VD WNSQWSWd 249r2 W1L d3CAOANO2 WAG "ONI LNIOdASYS AOANOD Wad ‘2U| JUDdAe19 99H
A\UOUd-UON gg L¥g VS2-D9H — gLozrgore) +6 WO VNIQWS¥d 299r% V1 _LdSGAOANOD Vad ‘ONI LNIOdASNO. AOANOD Wad ‘2U| JUDdAe19 99H
A\UOUd-UON  po%p7 Ve2-D9H — gLozigore) 116 WO VNIQWS¥d 299r2% V1 _LdSGAOANOD Vad 'ONI LNIOdASNO. AOANOD Wad ‘2U| JuDdke19 99H
Auoud unle]D [BIOL wnN ajeg sselppy opus, rere)

AJWOUd-UON Z Hed @ AOUd | Wed SUIIeID peinoesuN 4/4 90Z W0d V4OS
|leyaq souRleg Jopua,A
OT1 ‘sjeveyew saoinosey uinsdAy
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ssaippe/m Aolig Jopua,

9T Jo ¢ aBeq

Aquoud { Auedwioy

 

 

 

 

 

 

 

 

 

A\UOUd-UON ¢y-746 glezerzos BL 0zvLZ/90 WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqelodiog esedg JenpoW Wyo
A\WOUd-UON  pe'gge') Losesrzos  gLoz/ezrao WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqelodiog esedg JenpoW Wyo
A\UOUd-UON ¢y-746 BLe09rZ0S —BLOz/OE/G0 WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqelodiog esedg JenpoW Wyo
A\UOUd-UON ¢y-746 1ZOEzPZOS —_ BLOZEZIGO WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqelodiog esedg JenpoW Wyo
A\WOUd-UON  pe'gge') LOZ6LeZ0S ~— BLOZVEZIGO WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqelodiog esedg JenpoW Wyo
A\WOUd-UON  pe'gge') geelsrZos — eLozvez/s0 WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqelodiog esedg JenpoW Wyo
A\UOUd-UON go ore €l0% — gLOZ/LOrLL 61168 AN SeG9A Se7 Z0e# OBUIIE|4 3 0802 eoIPeUle e.g X5-PeW 99H
AWOLId-UON 681g gLlZZ — SLOZIOLILL LBLPS |4 USED JBIUIAM LINIG UOSWIUD 2/1 Se0K8S O18!1 99H
AWOLd-UON 11 00g \G/2% — LOILOFLL LBLPS |4 USED JBIUIAM LINIG UOSWIUD 2/1 Se0K8S O18!1 99H
AWOLId-UON goer 0S12%  gLozizorl LBLPS |4 USED JBIUIAM LINIG UOSWIUD 2/1 Se0K8S O18!1 99H
AWOLd-UON  oo'00g yOLzZ — BLOZZOFLL LBLPS |4 USED JBIUIAM LINIG UOSWIUD 2/1 Se0K8S O18!1 99H
AWOLId-UON oo'gz9 z99%2  gLOzizz/ol LBLPS |4 USED JBIUIAM LINIG UOSWIUD 2/1 Se0K8S O18!1 99H
AWOLd-UON  oo'00g 98922  gLOZ/6L/OL LBLPS |4 USED JBIUIAM LINIG UOSWIUD 2/1 Se0K8S O18!1 99H
AWOLd-UON  oo'00g 7892Z — BLOZ/EL/OL LBLPS |4 USED JBIUIAM LINIG UOSWIUD 2/1 Se0K8S O18!1 99H
A\WOUd-UON gi oae's juewebpnr Aemee] — 6 L02/L0rr0 Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee 59H
A\UOUd-UON gost) juewebpnr Aemee] — 6 L02/L0rr0 Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee 59H
A\UOUd-UON  goost eel0g gLozirerto Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 1e10$  gLozreoro Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 6690$ —gLozreoro Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 esos gLozrLorto Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 g690$ gLoz/Lorto Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 9690$ gLoz/Lorto Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 ges0$ gLozrLorto Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 1e0$ gLozrLorto Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 g690$ LLoziLzie Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 1690$  LLOZ/LZZL Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 9e90¢ LLoziLze Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 090g ZLoz/Lzie Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 egos LLoziozi@l Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 9090¢ ZLozieL@L Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 g090$ LLOz/eLZL Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 1090$ LLOt/rLzL Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 Legos LOVE Leh Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 6e¢0$ LLOZ/LLZL Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 090$ ZLozieorzl Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 06s0$ ZLozieorz Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 yos0g = /40z/e0/Z1 Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 1890S LL0z/gorzL Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 9ZS0G# ONd —_LLoz/90rzL Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 BeGOSH NOd — LLozsporet Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\UOUd-UON  go'009 OCPOSH Od = LLOz/ezrlt Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 GZS0GH ONd == LLOzseezrbb Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 ZerOGH Od == LLOZsLILL Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\WOUd-UON  goog9 LZG0GH Od = LbOzsezrbb Lbs LN Alo exe TIeSOee SIINSUINOS OZ ISeg LSZ sonsiGo7 jeqnig Aemee7] 99H
A\UOUd-UON  9¢7¢9 goesses  gLoziPLize 8LL6) Wd BIUdBDIIUd E6282 XOG Od ou] ‘eBUeY Je]SpUeT 99H
AWJOUd-UON zeyse Q2SBELe — BLOZ/OZILL SLLEL Vd PLUGIEPIId e62h8z XE Od ou] ‘eBueY JespueT 9H
AWWOLd-UON  o'00$ gseezog — gLOz/Oz/LL SLL6L Wd BlUdieplIUd e62PE2 X08 Od ou] eBuey Je]spue 99H
A\UOUd-UON zp 62s elosese  gLoz/ozrit 8LL6) Wd BIUdBDIIUd E6282 XOG Od ou] ‘eBUeY Je]SpUeT 99H
AWOUd-UON ogee SerLipS — SLOZ/ELILL SLLEL Vd PLUGIEPIId e62h8z XE Od ou] ‘eBueY JespueT 9H
AWWOLd-UON  z0's¢69 GLZE6P8 — BLOZ/E LLL SLL6L Wd BlUdieplIUd e62PE2 X08 Od ou] eBuey Je]spue 99H
A\WOUd-UON  gee6g ELEES6E — LOZ/ELILE 8LL6) Wd BIUdBDIIUd E6282 XOG Od ou] ‘eBUeY Je]SpUeT 99H
AWUOUd-UON  ¢e60g ZELZeOe — SLOZ/ELILL SLLEL Vd PLUGIEPIId e62h8z XE Od ou] ‘eBueY JespueT 9H
AWWOLd-UON  :9°069 OSSZLLZ — BLOZ/EWEL SLL6L Wd BlUdieplIUd e62PE2 X08 Od ou] eBuey Je]spue 99H
A\WOUd-UON  g6002 GLOLLEZ — gLOZ/9OrLL 8LL6) Wd BIUdBDIIUd E6282 XOG Od ou] ‘eBUeY Je]SpUeT 99H
A\UOUd-UON  gg6er BPEEL-9I-2E —_LLOZ/porgo EOE We APeOoY Gor YON 9zP) }(PReysuexeq) DU] ‘seoWseS BUWEIS 47 suepul 0927 99H
A\UOUd-UON op ziz GISEI-9I-2 — LLOZ/LO1L0 PBA WIE APeOY Gor YON 9zP) }(PReysuexeq) DU] ‘seoWES BUWEIS 47 suepul 0927 99H
A\UOUd-UON pg Lz IZEEI-9I-LE —-LLOZ/9L/90 PEA We APeOY Gor YON 9zP) }(PReysuexeq) DU] ‘seOWES BUWEIS 47 suepul 0927 99H
A\UOUd-UON gogiz OZBEl-91-2E — LLOZ/EL/90 PEE We APeOoY Gor YON 9zP) }(PReysuexeq) DU] ‘seoWES BUWE]S 47 suepul 0927 99H
A\UOUd-UON yz Lpr'y GLBEl-91-28 — LL0z/80/90 P2O@ We APeOoY Gor YON 9zP) }(PReysuexeq) DU] ‘seoWeS BUWEIS 47 suepul 0927 99H
A\WOUd-UON  gy'e0z"¢ PIBEL-GL-LE —_Lb0Z/60/90 PEE Wie dPeON Bor YLON 9@PLL(Pisysiexe@) OUI “sBOMIeS BUYS 41 suepul 0927 99H
A\UOUd-UON 91991") LBLE-9I-LE — LL0z/ZOIgo 2A We APeOY Gor YON 9zP) }(PReysuexeq) DU] ‘seoMses BUWEIS 47 suepul 0927 99H
A\WOUd-UON  gz'gpe'z BBLEI-9I-2E — LL0z/Zorgo PEE We APeOoY Gor YON 9zP) }(PReysuexeq) DU] ‘seOWsES BUWEIS 47 suepul 0927 99H
A\WOUd-UON gp o92'e QLLEI-9I-28 — LL0z/9z/Go 2A We APeOY Gor YON 9zP) L(PReysuexeq) DU] ‘seoWses BUWE]S 47 suepul 0927 99H
A\UOUd-UON yz Lpr'y GLLEI-91-28 — LL0z/9z/Go 2A We APeOY Gor YON 9zP) }(PReysuexeq) DU] ‘seoWses BUWEIS 47 suepul 0927 99H
A\UOUd-UON gg erg BBLEI-91-28 —_LLOz/ez/Go PEE WE APeOY Gor YON 9zP) }(PReysuex2q) DU] ‘seoKES BUWEIS 47 suepuly 0927 99H
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AUOU-UON Z Hed @ AjOld | Wed SUIE[D paindasuN 4/5 90% W404 Y4OS

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A\UOUd-UON  9g'gp g0eZLISsé 6 LOzvLE/S0 ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog 99H
aU JO sislU@ UNREH leuotedno9q

A\WOUd-UON  ggep ozsrosrs6 gL 0z/9z/90 ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog 99H
BU] JO SuaJUSD UJIesH euogedns9Q

A\WOUd-UON  ggep 6/g9lers6 81 0z/9z/90 ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog 99H
aU JO sislU@ UNREH leuotedno9q

A\WOUd-UON  g0zg les6rs6 gL 0z/9z/90 ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog 99H
BU] JO SuaJUSD UJIesH euogedns9Q

A\UOUd-UON gg ogt geerelrs6 81 0z/9z/90 ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog 99H
aU JO sislU@ UNREH leuotedno9q

A\UOUd-UON  gorsL LLueelrs6  gL0z/9z/90 ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog 99H
BU] JO SuaJUSD UJIesH euogedns9Q

A\UOUd-UON  gorsL acezelrs6 gL 0z/9z/90 ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog 99H
aU JO sislU@ UNREH leuotedno9q

A\UOUd-UON  go19z BIZLLLPS6 BL 0Z/9z/90 ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog 99H
BU] JO SuaJUSD UJIesH euogedns9Q

A\UOUd-UON 9g zez Q/6LLLPS6 BL 0z/9z/90 ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog 99H
aU JO sislU@ UNREH leuotedno9q

A\UOUd-UON 9g Lz Slrsolps6 gL 0z/9z/90 ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog 99H
BU] JO SuaJUSD UJIesH euogedns9Q

A\UOLg-UON gg 9gh golesirs6 gL 0z/9z/90 ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog 99H
aU JO sislU@ UNREH leuotedno9q

A\WOUd-UON  ggep QLISLips6 gL 0z/9z/90 ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog 99H
BU] JO SuaJUSD UJIesH euogedns9Q

A\UOUd-UON gg ogt 11960856 8102/97/90 ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog 99H
aU JO sislU@ UNREH leuotedno9q

A\UOUd-UON  ggg01 BBS/S9PS6 LLOZ/EOILL ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog 99H
BU] JO SuaJUSD UJIesH euogedns9Q

A\WOUd-UON  go's9 GGOP/8rS6  GLOZ/LOFLL ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog Wyo
aU JO sislU@ UNREH leuotedno9q

A\WOUd-UON  9g19 g098e/rS6 —BLOZ/LON8O ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog Wyo
BU] JO SuaJUSD UJIesH euogedns9Q

A\WOUd-UON  9g19 g0sorgrs6 LL0Z/Z 1/01 ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog Wyo
aU JO sislU@ UNREH leuotedno9q

AYO d-UON  og-z9 ZG SLOZILL/OL WSNOPL68 AN Seba seTEzL00r XG Od O71 ‘LINOIZIAN Wyo

AUOLd-UON  0¢°202, 861 BL0Z/8L/60 WSNOF LEB AN SeB8A Se1EZ 100% X08 Od O71 °LI NOIZIAN Wyo

AUOLd-UON  o¢79 SS1g  g10z/rOr60 WSNOF LEB AN SeB8A Se1EZ 100% X08 Od O71 °LI NOIZIAN Wyo

AYUOLd-UON og 79 ZiLS = SL0zrLOr6O WSNOF LEB AN SeB8A Se1EZ 100% X08 Od O71 °LI NOIZIAN Wyo

A\UOLg-UON og zr e20$ — gLOzreo/e0 WSNOPL68 AN Seba seTEzL00r XG Od O71 ‘LINOIZIAN Wyo

AWUOLd-UON or eer 90S SL0z/8LiL0 WSNOF LEB AN SeB8A Se1EZ 100% X08 Od O71 °LI NOIZIAN Wyo

AYO d-UON  og-z9 Ler — BLOZseor20 WSNOPL68 AN Seba seTEzL00r XG Od O71 ‘LINOIZIAN Wyo

AYUOLd-UON  zgez, 000g §=— gL0z/e0rL0 WSNOF LEB AN SeB8A Se1EZ 100% X08 Od O71 °LI NOIZIAN Wyo

AUOLd-UON  0¢202 86% © 8102/61/90 WSNOF LEB AN SeB8A Se1EZ 100% X08 Od O71 °LI NOIZIAN Wyo

AWUOLd-UON og zee eer — SLOZ/LLISO WSNOF LEB AN SeB8A Se1EZ 100% X08 Od O71 °LI NOIZIAN Wyo

AWUOUd-UON coger beep — 8L02/20/S0 WSNOPLES AN SeBeA Se1EZLO0h XOE Od O71 °LI NOIZIAN Wyo

A\WOUd-UON  go'gzz O1OLr10  gL0zsL0r60 12968 AN ‘OueY “3# Ae mA AGOPULe | Spe ussy BUIYONLL AN 99H

A\WOUd-UON gi ¢z9'¢ LOONSdAS —L402/G1/60 LESZE VD PURIUO JAY AUEAINA LPSOL JolIe |, Ue de Wy UJON 99H

A\WOUd-UON  gpiez'¢ aces, LLozizie0 OLFPS LM AID 8H HESLGEOL XO Od Suluiyse Wy 99H
DIN AA - BOIS O1W 8.UBSIRIN

A\WOUd-UON  ¢z012") esesl —LLozizi/e0 OLFPS LM AID 8H HESLGEOL XO Od Suluiyse Wy 99H
AINA - 8918S DIY 8,UESIN

A\UOUd-UON zy zp¢'9 PrLLM  LhozsLoree OLFPS LM AID 8H HESLGEOL XO Od Suluiyse Wy Wyo
DIN AA - BOIS O1W 8.UBSIRIN

A\WOUd-UON  gg'e06 yeZBL —-LL0Z/9L/80 OLFPS LM AID 8H HESLGEOL XO Od Suluiyse Wy Wyo
AINA - 8918S DIY 8,UESIN

A\WOUd-UON go z92"r ogigh zLozrzz/90 OLFPS LM AID 8H HESLGEOL XO Od Suluiyse Wy Wyo
DIN AA - BOIS O1W 8.UBSIRIN

A\UOUd-UON go oor bebe — gLoziszreo W'S NLEPES AN S¥edsi88N$ 1812 UNOS SOF ~—earqinouBy Jo jueUJedeg eperneN Wyo

AWJOMUd-UON coset Be6L00ZL —LLOZ/EL/OL BELS-SBEDE VO PIUEAWBEL SOP XO Od OTT BUEN WEN Wyo

AYUOLd-UON  99°000'6 61660 UOZ PICA — BLOZ/LONL0 9 LOANIPd JE1EAM JO NeeINUOMOe|OAd [E|UELIUOJIAU JO UOISIAI] EPEACN MUN d30N Wyo

A\UOUd-UON  9z679°2 eLoz/9z/90 L068 AN Wosiepue}peoy syeH}se3 OSee lulpieune o1ezen, Wyo

A\WOUd-UON  g6ere'e sloz/engo V UPWBUIYOOOL XO Od “LOIS JAIDEOUIO sAsULORY AJUNOD BAEYOW Jeunseel | AUN} EAU Wyo

A\WOUd-UON  pe'gge') LLe@69t0S ~— BLOZIEzIZL WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqeiodio9 aoeds JeinpoW Wyo

A\UOUd-UON ¢y-746 Z08s99%0$  BLOZ/EOIZL WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqeiodio9 aoeds JeinpoW Wyo

A\WOUd-UON  pe'gge') 66009920$  BLOZIEZILL WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqeiodio9 aoeds JeinpoW Wyo

A\UOUd-UON gezzi yeeseoz0s —gLoz/ocioL WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqeiodio9 aoeds JeinpoW Wyo

A\UOUd-UON 2g ¢zr 1B6SE9ZOS —_BLOZVOE/OL WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqeiodio9 aoeds JeinpoW Wyo

A\UOUd-UON ¢y-746 O61 PE9z0S ~—BLOZVEZ/OL WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqeiodio9 aoeds JeinpoW Wyo

A\WOUd-UON  pe'gge') ELb6Z920$ BLOz/rz/OL WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqeiodio9 aoeds JeinpoW Wyo

A\UOUd-UON ¢y-746 89Ll09%0$ —BLOzrLz/60 WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqeiodio9 aoeds JeinpoW Wyo

A\WOUd-UON  pe'gge') Zerseszos  eLozvez/e0 WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqeiodio9 aoeds JeinpoW Wyo

A\UOUd-UON ¢y-746 Llogeszos gs Lozyezieo WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqeiodio9 aoeds JeinpoW Wyo

A\WOUd-UON  pe'gge') eeessszos —eLozvezieo WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqeiodio9 aoeds JeinpoW Wyo

A\UOUd-UON ¢y-746 LLpoestos ~— eLozvezrt0 WSN9ZL0-€6909 71 OBedIyDeAUC Je]UED SUdGOeIOD EO9Z) unqeiodio9 aoeds JeinpoW Wyo

A\WOUd-UON  pe'gge') augszszos _ eLozyszrz0 WSM9ZL0-€6909 71 OBedI4DeAUC Je]UeD SUDG29I1O9 E09Z) unqeiodio9 aseds JeinpOW, WHO

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er Zep Lezegldt — gLoz/Sz/s0 Aueduiod e41, wngpey 99H
A\WOUd-UON oz le ezzeglZl  gLoziszvso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON  6z-¢9g gozeglel — gLozrrzrso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
AWJOUd-UON egzez PSLEQLZL — BLOZ/ee/SO SLLO8 AN SeB8A SeUSIIED "Ol Lb Auedwiog aul Wingpey 9H
A\WOUd-UON  gzege'z geleglzl — ghozrezrso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON gp pz0' oeleglzl — glozrezso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
AWUOUd-UON  y9c¢e"L BBlE9lLL — LOz/ez/SO SLLO8 AN SeB8A SeUSIIED "Ol Lb Auedwiog aul Wingpey 9H
A\WOUd-UON  j9¢ge") OBLE9lZL — gLozrezrso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  9z0g Leleglél — eLozvez/s0 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  9z0g Zeleglzl — gLozrezrso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON grog e6leglZl — gLozrezrso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON  gy79 POLegLAL — BLOzvEzIG0 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON jeez geleglzl — gLozrezrso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  ggr¢ 6le9lZl — gLozrezrso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  ggr¢ 16le9l2b — gLozrezrso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  9z0g gelegldl — gLozrezrso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON  go'009 B6le9lZL — gLozrezso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\uOUd-UON  gy921"1 oleate — gLozizzrso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON oor Leleglel — gLozrLzvso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  ggr¢ eelegldl — gLozrLzvso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON 9012 Zelegldl — gLozrLzvso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  9z0g Veleglél — eLozviz/s0 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON grog OeleglZl — gLozrLzvso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON 9012 ZLELZL — gLozrLzrso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  gzog ozieglel — gLozrLzso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  9z0g IZie9bLb — gLozrLzrso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  j66¢ ezlegldl — gLozrLzrso SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON  go'099 ZLiegldl — gLozieL/go SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  je¢¢ Qlicglzl — gLozret/o SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON  giigg GlisglZl — gLozreL/so SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON 4600") Elisgldl  gLoziel/o SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON 9.689 gly OHONIS —gLozioerro SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  90°000'HL zz 6 02/1/90 22/68 AN SeGeA SeqeAY UOgoNSUOD 0285 sepel) Suiping jeeey Wyo
A\UWOUd-UON  9g'g99 Lollelogle sLoziezrto WSNGOLO-PLEDE WO BIUPAWEOLOPL X08 Od soqsouselq send 99H
A\WOUd-UON gg ese") Grzsle6ll6 — gLozsozizL WSNGOLO-PLEDE WO BIUPAWEOLOPL X08 Od soqsouselq send 99H
A\WOUd-UON  g0°g0g'2 2000-9108E1 — 6L0z/0z/90 GSEs VO PleUsIENEshLLZ XOG Od du) SjeqUey JUELUdIND 3 JelWwelg 99H
A\WOUd-UON gp z9¢'2 8000-9108E1 — 6L0z/0z/90 GSEs VO PleUsIENEshLLZ XOG Od du) SjeqUey JUELUdIND 3 JelWwelg 99H
A\WOUd-UON 26 6z4'2 FOUVHO LSSNALNI 6102/61/90 GSEs VO PleUsIENEshLLZ XOG Od du) SjeqUey JUELUdIND 3 JelWwelg 99H
A\WOUd-UON  g0°g0g'2 G000-9h08el —_LLozrLoreL GSEs VO PleUsIENEshLLZ XOG Od du) SjeqUey JUELUdIND 3 JelWwelg 99H
A\WOUd-UON  g0°g0g'2 g000-9108E1 —_LL0z/Zz/90 GSEs VO PleUsIENEshLLZ XOG Od du) SjeqUey JUELUdIND 3 JelWwelg 99H
A\WOUd-UON  g0°g0g'2 9000-9108El — LLOz/Z0/S0 GSEs VO PleUsIENEshLLZ XOG Od du) SjeqUey JUELUdIND 3 JelWwelg 99H
A\WOUd-UON  gg'9¢e"1 ShLLe6rL — gL0Z/POrZL 80116 WO BuBpese doZhL XOG Od Bulsee7] YONI, BYSUEd Wyo
AQUOUd-UON yp yz $OPOL/PL — gLoevLorel 80116 WO BuBpese doZhL XOG Od Bulsee7] YONI, BYSUEd Wyo
A\UOUd-UON 90°62 Z9zrlerL — LOZ/LOIZL 80116 WO BuBpese doZhL XOG Od Bulsee7] YONI, BYSUEd Wyo
A\WOUd-UON yg 4%1z BLLLegrL — LOZ/LOIZL 80116 WO BuBpese doZhL XOG Od Bulsee7] YONI, BYSUEd Wyo
A\UOUd-UON go z6r GosgegrL gL 0z/LOrZL 80116 WO BuBpese doZhL XOG Od Bulsee7] YONI, BYSUEd Wyo
A\uOUd-UON  2¢Z0g gooszorL gL 0z/LOrzL 80116 WO BuBpese doZhL XOG Od Bulsee7] YONI, BYSUEd Wyo
A\WOUd-UON  ggz¢6 Q62Zz/9"L — L0Z/LOIZL 80116 WO BuBpese doZhL XOG Od Bulsee7] YONI, BYSUEd Wyo
A\WOUd-UON  ¢gz08 LO2ZL9PL — BLOZILOIZL 80116 WO BuBpese doZhL XOG Od Bulsee7] YONI, BYSUEd Wyo
A\UOUd-UON  ge1z9"1 Bisoserl — g1.0z/6z/80 80116 WO BuBpese doZhL XOG Od Bulsee7] YONI, BYSUEd Wyo
A\WOUd-UON  geige zzgezerl 8 L0Z/S1/80 80116 WO BuBpese doZhL XOG Od Bulsee7] YONI, BYSUEd Wyo
AUOLd-UON 96-091" ¥990LS — BL0z/ez/S0 90168 AN seBe, se7Py EZUELOG AM SIL OTTIIO BULL UO Wyo
A\WOUd-UON  go'919°¢ 0696/02 6 L0z/0Err0 69168 AN S262, S2700S1 e1INs Amd SeUBNH PJeMOH CORE dd leMmelg 99H
R YEOLS USEN SUIIeer1 Be18I60
A\WOUd-UON  gyozi'z 6896/02 6 L0z/0EIr0 69168 AN S262, S2700S1 e1INs Amd SeUBNH PJeMOH CORE dd leMmelg 99H
® YEOLUS USEN SUIxeEC Beu]E|5O,
A\WOUd-UON  g0'0g8'2 1696102 — 6Loz/oerro 69168 AN S262, S2700S1 e1INs Amd SeUBNH PJeMOH CORE dd leMmelg 99H
R YEOLS USEN SUIIeer1 Be18I60
A\UOUd-UON  go'ggz zez090% 6 L0zs2z/e0 69168 AN S262, S2700S1 e1INs Amd SeUBNH PJeMOH CORE dd leMmelg 99H
® YEOLUS USEN SUIxeEC Beu]E|5O,
A\WOUd-UON op ize'1z oroogeg 6 Lozszzreo 69168 AN S262, S2700S1 e1INs Amd SeUBNH PJeMOH CORE dd leMmelg 99H
R YEOLS USEN SUIIeer1 Be18I60
A\WOUd-UON  go'91¢'9 112090% 61 0z/2z/e0 69168 AN S262, S2700S1 e1INs Amd SeUBNH PJeMOH CORE dd leMmelg 99H
® YEOLUS USEN SUIxeEC Beu]E|5O,
A\WOUd-UON  go'ggz 6120902 6 L0zs2z/e0 69168 AN S262, S2700S1 e1INs Amd SeUBNH PJeMOH CORE dd leMmelg 99H
R YEOLS USEN SUIIeer1 Be18I60
A\UOUd-UON 9g zeL 86PZ1SG6 6 L0z/rL/90 ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog 99H
BU] JO SuaJUSD UJIesH euogedns9Q
A\UOUd-UON  9g'gp QSr6LiSs6 61 0z/S0/90 ¥SNOLO6-LZ008 OD PleywoogoLO6 XO Od Wid Isemynog 99H
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|leyaq souRleg Jopua,A
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41 Page 43 of 55

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Doc 104 Entered 08/26/19 17

Case 19-14796-mkn

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Aquoud { Auedwioy

 

AWOLIg-UON  go'009 QesegL2t — gLoz/gl/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON oze¢ geseglst — gLoz/el/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON ore) geseglst — gLoz/el/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
A\WOLIg-UON  spepo'L PESeOLZL — gLoziel/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
A\WOLIg-UON  spepo'L eeSeglt  gLoz/gl/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON  ggeeh 19SE9L1  gLoz/gl/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIG-UON gorse goseglst — gLoz/el/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON  ,goz1 geseglst — gLoz/el/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON ozog 18SC9LL1  gLoz/gl/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIG-UON Lege POSeOLZL — gLoziel/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON o01z e6SE9L2L — gLoz/egl/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON o01z ZESE9LL  gLoz/gl/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON  oF'09 LeseoLzl — gboziel/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
A\WOLg-UON zezoL'L gSseglst — gLoz/zi/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON jeez 06z1gz0l — gLoz/z 1/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
A\OLIg-UON gg ozs'e ggsealst — gLozysi/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON 91 ggo'z LpSeQLL — gLoz/si/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIG-UON  egy1z geseglst — gboz/rl/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
A\WOLIg-UON  go'ezo'L LUSeQLLL — gbozvel/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON zz-96z Qereglsl  gLoz/zl/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON 696 elseglst  ghoz/zl/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON ozog QQregLL — gLozsiL/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIG-UON go1z OLPESLLL — ghoz/iL/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIG-UON go1z ZLPEQLLL — gbOz/i L190 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON oze¢ SLPEQLL — gLoz/iL/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWWOLIG-UON  oF'92 PLPeOLLL — gLOz/LW/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON oze¢ QLPEOLLL — gboz/iL/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON  Le-9gp LEPEQLLL — gLOz/i L190 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON g'gzi SlPeQlL — gLoz/il/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON gorozz BSPEQLLL — gLoz/iL/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON oF'g9 OSPEgLZL gost L/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON  oF'09 ZOPEQLLL  gLoz/il/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON o01z OPEQLL — gLoz/iL/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIG-UON Lege POPEOLZL — gboz/LL/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON  oF'09 Gorcglsl — gLoz/iL/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON go'6)1 Lersolzl — gboziearg0 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
A\WOLg-UON z'¢02"1 Zereglt — gLoz/eo/g0 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
A\WOLIg-UON ¢z'e02"1 eereglst — gLoz/eo/g0 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIG-UON egzeg PereolZL — gLoziearg0 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON  geoez gereglst — gLoz/go/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON 9z1¢9 etreglsl — gboz/zo/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIG-UON ez-1zi esol — ghoz/z0/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON o¢616 glPeglst — gboz/zo/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
A\WOLIg-UON og ogo'L geccglst — ghoz/gavg0 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON gz-z02'2 BOrEILLL — gLoz/ga/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON  go'9z9 ZIPEgLL — gLoz/ga/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON ozog ogeeglst — ghoz/sovg0 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON ozog geecglst — ghoz/sorg0 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON ozog geecalst — gboz/sovg0 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON  gzog PEEeOLZL — gLoz/sarg0 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON oze¢ eeeeglst — ghoz/so/g0 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AYOLIg-UON  zo'g01 zeecglst — gboz/so/g0 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON  go'ors BLEC9LLL — gboz/sov90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
A\WOLIg-UON  spyeL't goecglst — ghoz/sovg0 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON  oz'¢gr'e eSeeglst — ghoz/rorg0 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON sy egr'e zsgoezol —gLozvia/g0 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIG-UON 97-948 LZeeoLZl — gboz/Lorgo SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIG-UON ez'gez BLeCgLL — gboz/La/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
A\WOLIg-UON  eg'ger'y LUSCQLL — ghozsLo/g0 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
A\WOLIg-UON Ly ogo'L glecglst — gbozsLovg0 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIG-UON  pe'Loz 6g98Z01 —gLoz/La/90 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
A\WOLIg-UON gh ¢9z"y OHONIY — ghoz/ie/s0 SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON  go'¢z Zlecglt — gbozvieiso SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIG-UON og ove eOeeglst — ghozsieiso SLL68 AN SeBeA SeUEHED "3 OLLb Auedwog aul, wingpey 90H
AWOLIg-UON z'99z oezegLst — gbozysz/so SLL68 AN SeB8A SeUEHED "3 OLLb Auedwo3 aul, wingpey 99H
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AJWOUd-UON Z Hed @ AOUd | Wed SUIIeID peinoesuN 4/4 90Z W0d V4OS
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41 Page 44 of 55

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Doc 104 Entered 08/26/19 17

Case 19-14796-mkn

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A\WOUd-UON  gg'gz1'9¢ \elz  eLozrLerto WSN6O06 AN LOSI8PUBH/0/26 X08 O'd ‘ul “uoyOngsuoy s1epues Wyo
A\WOUd-UON zz L98"1¢ 8912 6102/81/10 WSN6O06 AN LOSI8PUBH/0/26 X08 O'd ‘ul “uoyOngsuoy s1epues Wyo
A\WOUd-UON yegzz'2z 1S1Z 6 L0Z/LLNL0 WSN6O06 AN LOSI8PUBH/0/26 X08 O'd ‘ul “uoyOngsuoy s1epues Wyo
A\WOUd-UON z0°¢25°2 etlz  gL0z/0zeL WSN6O06 AN LOSI8PUBH/0/26 X08 O'd ‘ul “uoyOngsuoy s1epues Wyo
A\WOUd-UON  ye'g0z'hL LZ gLOZ/PLIZL WSN6O06 AN LOSI8PUBH/0/26 X08 O'd ‘ul “uoyOngsuoy s1epues Wyo
A\UOUd-UON peyoL LIZ LOZsLLIZL WSN6O06 AN LOSI8PUBH/0/26 X08 O'd ‘ul “uoyOngsuoy s1epues Wyo
A\WOUd-UON  go'gzz 069% 8 L0z/6zrLL WSN6O06 AN LOSI8PUBH/0/26 X08 O'd ‘ul “uoyOngsuoy s1epues Wyo
A\WOUd-UON  gypou'21 689% gL0Z/6ZrLL WSN6O06 AN LOSI8PUBH/0/26 X08 O'd ‘ul “uoyOngsuoy s1epues Wyo
A\WOUd-UON gz ege'z 199%  GLOZ/OL/LL WSN6O06 AN LOSI8PUBH/0/26 X08 O'd ‘ul “uoyOngsuoy s1epues Wyo
AWOLIg-UON  gg'ge Leezsgz00€ — LL0Z/LEreh VSNELSL-OE068 AN SeBeA seKe mM UeAOUOT OZ Le 4equ89 YONL HSAY, WHS:
AWOLd-UON 286) Lez8S9L00€ — LLOZ/LEIZL VSNELSL-OE068 AN SeBeA seKe mM UeAOUOT OZ Le 4equ89 YONL HSAY, WHS:
AWOLId-UON pe ope'z BL6selz00€ — LLOZ/LOFLL VSNELSL-OE068 AN SeBeA seKe mM UeAOUOT OZ Le 4equ89 YONL HSAY, WHS:
AWOLId-UON eyes bpposZzz00€ — LLOZ/LOFLL VSNELSL-OE068 AN SeBeA seKe mM UeAOUOT OZ Le 4equ89 YONL HSAY, WHS:
AWOLId-UON Ly ezz seseezz00€ — LLOZ/LOFLL VSNELSL-OE068 AN SeBeA seKe mM UeAOUOT OZ Le 4equ89 YONL HSAY, WHS:
AWOLId-UON 9) 967 PSPSOLLOOE = LLOZ/LOVEL VSNELSL-OE068 AN SeBeA seKe mM UeAOUOT OZ Le 4equ89 YONL HSAY, WHS:
AWOLId-UON ggeir'z QSLesLg00e —LLOZ/LOFLL VSNELSL-OE068 AN SeBeA seKe mM UeAOUOT OZ Le 4equ89 YONL HSAY, WHS:
AWOLId-UON yo9zz gegorzz00e — 2402/20/60 VSNELSL-OE068 AN SeBeA seKe mM UeAOUOT OZ Le 4equ89 YONL HSAY, WHS:
AWOLId-UON  g6goL sizgegz00e — 2402/90/60 VSNELSL-OE068 AN SeBeA seKe mM UeAOUOT OZ Le 4equ89 YONL HSAY, WHS:
AWOLId-UON  zg'ezi zerezgz00e — 2 L0z/S0/60 VSNELSL-OE068 AN SeBeA seKe mM UeAOUOT OZ Le 4equ89 YONL HSAY, WHS:
AWOLd-UON 92-196 2060292008 2402/50/60 VSNELSL-OE068 AN SeBeA seKe mM UeAOUOT OZ Le 4equ89 YONL HSAY, WHS:
AWOLId-UON eyes zezeogz00e 2 L0z/6z/80 VSNELSL-OE068 AN SeBeA seKe mM UeAOUOT OZ Le 4equ89 YONL HSAY, WHS:
AWOLId-UON  Le6ge brglogz00€ — LL0¢/6%/80 VSNELSL-OE068 AN SeBeA seKe mM UeAOUOT OZ Le 4equ89 YONL HSAY, WHS:
AWWOLIg-UON  Lg¢go"L ogerozzooe = zb0zsz/20 VSNELSL-OE068 AN SeBeA seKe mM UeAOUOT OZ Le 4equ89 YONL HSAY, WHS:
AWOLId-UON gi ¢e1 ezssgo00e = 2 L0z/2 1/20 VSNELSL-OE068 AN SeBeA seKe mM UeAOUOT OZ Le 4equ89 YONL HSAY, WHS:
AQUOUd-UON  90'022'1 LSZPL  SLOZ/LOFLL ZeP68 AN SHEASGOSL XOGOd — ou) ‘Auediog BueeulBUy UOsIqoy wy
AQUOLd-UON  o's60'L L8ShL —- SLOZILOFLL ZeP68 AN SHEASGOSL XOGOd — ou) ‘Auediog BueeulBUy UOsIqoy wy
AWUOWd-UON oo '00¢ gserl  gLoz/oL/zo ZeP68 AN SHEASGOSL XOGOd — ou) ‘Auediog BueeulBUy UOsIqoy wy
A\WOUd-UON  z¢'0¢ few 6L0z/LEISO 8288-29098 ZW XIUGOU dOZ88L X08 Od OZOH SeoKMeg ol]gndey 90H
A\WOUd-UON  z¢'0¢ udy — 6Loz/oerro 8288-29098 ZW XIUGOU dOZ88L X08 Od OZOH SeoKMeg ol]gndey 90H
A\WOUd-UON z9°@19 uoRA  6Lozsiereo 8288-29098 ZW XIUGOU dOZ88L X08 Od OZOH SeoKMeg ol]gndey 90H
A\UOUd-UON  ¢y¢o1 ge4  610z/8z/z0 8288-29098 ZW XIUGOU dOZ88L X08 Od OZOH SeoKMeg ol]gndey 90H
A\UOUd-UON gyert uer — gLozrLerto 8288-29098 ZW XIUGOU dOZ88L X08 Od OZOH SeoKMeg ol]gndey 90H
A\UOUd-UON goes 980 BLORILEIZL 8288-29098 ZW XIUGOU dOZ88L X08 Od OZOH SeoKMeg ol]gndey 90H
AYOLg-UON  g9°¢14'2 BLOz/ezIL0 20208 02 Jeaued ‘Ze BINS ‘Jeeds SUL OOFL (ep THY) O11 WeID- day WHS
AYOLg-UON  go'o0s"9z9 6L0Z 40 puz — eLoz/oereo 20208 02 Jeaued ‘Ze BINS ‘Jeeds SUL OOFL (leep THY) O77 Weld-d3y Wyo
A\WOUd-UON 2g z¥¢'¢ sexe| Auedoid — 6 L0Z/E1/90 20208 02 weALEQ 'ZE BINS ‘Jeans GUID! OOFL (ep THY) O77 HeID-day wo
A\WOUd-UON gop oseeglzl — gLozisorz0 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON  go'ggg Zreegldl — gLozisorzo SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON grog erecglel — gLozisorzo SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  9z0g PrEESLLL — BLOzvsorL0 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON yg ozL zgeegl/l  gLozisorzo SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  je¢¢ \eeeglsl — eLozvsorz0 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  9z0g ereeglil — gLozisorzo SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON 9072 Lyeegltl — gLozisorzo SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  gz'9¢ Qrecglzl  gLozisorzo SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
AQUOLWd-UON  gzsor't Bugul4  gbozrosreo SLL6S AN seBeq seUeeD “3 OLP Auedwo esl) wngpey 59H
A\WOUd-UON  gy°¢10'2 eLle9lZb — gLoz/oergo SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON 2669 VeLegll — eL0z/ez/90 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON  ¢66 OOLe9lZb — gLozrezre0 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON zy911 ELleglel — gLozrezreo SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  9z0g ZLLe9lZL — gLozrez/e0 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  zeL¢ LLZe9LL — eL0z/9z/90 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  9z0g OLLe9lZL — gLozrezre0 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  9z0g BOLe91ZL — gLozrez/g0 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  9z0g gOlegldl — gLozrez/g0 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON grog LOLE9121  gLozrezre0 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON grog QO1e9l2b — gLozrez/e0 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  gy9¢ LOLe9LL — eL0z/9z/90 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  gz'9¢ B6geglZL — gLozrez/e0 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON  9z0g gegeglzl — gLozrez/eo SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON  go'009 16969121 — gLozrez/e0 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON zey91 PLOCGLLL — BLOzEZ/90 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\uOUd-UON  z6¢6¢ ZeG/eZ0l gLozizz/go SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\UOUd-UON  g666r'z \goeglsl — eL0zez/o0 SLL68 AN SeBeA Se UEHIED “3 OL Le Auedwog aul, wingpey 99H
A\WOUd-UON 1 0'990'2 ZL9EglZL — gLozreL/90 SLL68 AN SeBeA Se USHIeD “3 OL Le Auedwo3 aul, wingpey 99H
wie) ssoippe/m AQUolg JOopuaA = We], Aquoid / Auedwio> Ayoud we]D [E}OL, wnNn ayeg ssouppy Jopua;, oo

AJWOUd-UON Z Hed @ AOUd | Wed SUIIeID peinoesuN 4/4 90Z W0d V4OS
|leyaq souRleg Jopua,A
OT1 ‘sjeveyew saoinosey uinsdAy
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A\UOUd-UON  go66z 101ZS102 — gLozrezizi WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON  ¢z0¢ yoeerloz — eLozveerel WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON zg 00r elZerloz  gLoziezizl WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON  go¥gg'z Lolosloz — eLozvezrel WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON  ge'geg'z erosloz  gLozrezizl WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON 1 0'922'2 o6L0S10% —-gLozrezizl WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON reve geeerloz — gLoziezizl WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON 297) 8600S102  gLOz/ezizl WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON  gg6s0"1 oeeosloz — gLozrezizi WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON  ¢z972"1 oserloz — gLozrezizi WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON 96 zz¢°2 oogerloz — gLozizzizi WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON y10 Lo8z1009 BLOZveLIZL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON gg yer 062/009 SLOZ/6LZL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\uOUd-UON yer) 8PZ6rL0Z — SLOZIBLIZL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON egg LOZ6rLOZ — BLOZ/BLIZL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON gz zpe ZeS6r10% — SLOZIeLIZL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON yy 726 eer6rl0Z —sLOzieLZL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON  g¢16z €ZL6rL0Z — SLOzIeLIZL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON yor 0Z6rL0Z —-SLOZIBLIZL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON 9919 eeesrloZ gLOzIeLZL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON gz QBeerl0z gLOzieLiZL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON  ¢ez9¢") IZLLGLOZ —-SLOzIeLIZL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON 91 g6e'oL ZOLLGL0Z  gLOzieLZL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON  gg'0g e99/rL0% — gLOz/eLZL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON  ¢z0¢ gizerloz gLozieLiZl WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON pe zzg'g 199Z1009  gLOz/ZLZL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON  gg0 69671009 SLOZ/LLZL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON peyeL g0szi009 gLoz/olet WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON gy ezr 90¢zi009 gLOz/oLeL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON guste 10221009 gLOz/gorzL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON gg ype") PSZLZ009  eLOzsLOZL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON  gg'ezg Bl6lrL0% — gLOziOErlL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\uoud-UON  z-¢z6"1 geserl0z — gLozioert WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUg-UON gp 991 e9rl1009  gLOz/ezrlL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON  gg6s0"1 eSz6rl0z  gLoziezrlt WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON  ggeit POBPLOZ — BLOZIAZILL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON gz geegrloz — gLoz/ozrlL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON  gzez1'z eSG/P10Z  SLOZ/OLILL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON  gg'689 ZSG/P102  SLOZ/OLILL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON  9zz92 LEOPLOZ — LOZIOLILL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON  gy-10z POZSPLOZ — LOZIOLILL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUg-UON  getoL 8909r102  SLOZ/OLLL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON LLL B9SGPL0Z — SLOZ/OLLL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON 6 zp ZeEOPLOZ — SLOZ/OLLL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON 6 zp Q09rrL0Z — SLOZ/OLILL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON gz POCPLOZ — LOZ/OLILL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON gz SBEOPLOZ —SLOZ/OLLL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON gz QBESrL0Z — SLOZ/OLILL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON gz Geosrloz — SLOz/OLLL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON  gg'ggg'¢ GBlPrLOzZ — SLOZ/OLILL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON  geges'ez 620/009 sLOZ/9OrLL WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON  goger QeSZeNH  6LozrLorgo WSNLOge6 eloyIIeD exeioWgs AeMUBIH ELL1 uolsinig yseg Aluno Wyo
Jo une sousdngs
AWUOUd-UON oe eer Looo-eses6rez — LL0z/1 2/60 LZ6-PBE0E VO BIUEAWLLZ60b X08 “O'd siejuey yequns 9H
A\UOUd-UON gr 726") oresig 1 L0z/0¢/90 LL26-peeoe VO PIUEMY) | 260% XOG “Od sejuey qequng 99H
AWOUg-UON gi gz 100-900L0169 — ZL0z/Z1/S0 LZ6-PBE0E VO BIUEAWLLZ60b X08 “O'd siejuey yequns 9H
A\WOUd-UON pegez'y ye69l —LL0z/9z/L0 8LL68 AN SeB8A $e71202 E1INS 1d W.BUIED $ 029 yse | log Wyo
A\WOUd-UON  ¢yp0¢"¢ Jequieldeg sL0z/L0/60 —- PPEE-LZL68 AN SeBe, seTIEe.1$ PieuIse M QEOeeleAEIED ‘LONLETY ou aug 59H
A\WOUd-UON 9g 119° ysniny 6 L0z/L0/g0 ~—- PPEE-LZL68 AN SeBe, seTIee.1$ PieUIse M QE0eelieAEIeD ‘LONLETY ou aug 90H
A\WOUd-UON  go'ggg'¢ lesz LLozizorgo WSIL960-60068 AN UOSIePUSH/ 9606 XO ‘O'd 2°77 podsuel, ateig walls Wyo
A\WOUd-UON  go000"1 gessz LLozrLzreo WSIL960-60068 AN UOSIePUSH/ 9606 XO ‘O'd 2°77 podsuel, ateig walls Wyo
A\WOUd-UON  g0°009°2 yQ0C0% — LOz/PLIZL Loses WA “seupteue M "PY SUEPIeD SHO ZL NI Wodsued| Ueaug eolAleg 99H
A\WOUd-UON  g1pzu'¢1 yisz  6Loz/ozizo WSN6O06 AN LOSI8PUBH/0/26 X08 O'd ‘ul “uoyOngsuoy s1epues Wyo
A\WOUd-UON gy pzi'or elez 61 0z/91/20 WSN6O06 AN LOSI8PUBH/0/26 X08 O'd ‘ul “uoyOngsuoy s1epues Wyo
A\WOUd-UON  zegg1'ee 8612 6102/60/20 WSN6O06 AN LOSI8PUBH/0/26 X08 O'd ‘ul “uoyOngsuoy s1epues Wyo
A\WOUd-UON  6grye'Zi 8612 6102/80/20 WSN6O06E AN LOSI8PUBH/0/26 X08 O'd ‘ul ‘uoyONgsuoy s1epues WHO
Auoud unle]D [BIOL wnN ajeg sselppy opus, rere)

AUOU-UON Z Hed @ AjOld | Wed SUIE[D paindasuN 4/5 90% W404 Y4OS

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AJOUd-UON Leyee SPZLSLOZ 6102/20/20 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AJOUd-UON  6y-y0r agLsloz  6L0z/20/20 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON zp ger BeB9SLOZ 6102/20/20 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON  ¢g'er9 Serrsloz 6102/20/20 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\UOUd-UON  60Z90° VeSrSL0z — 6Loziz0/zO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON og ze¢ z9z91009  610z/S0/20 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AWJOUd-UON j9°@L2 9292009 61 0z/S0/20 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AWJOUd-UON j9°@L2 yozgt009 6 Loz/sorzo VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\UOUd-UON ¢e001'91 g08¢1009 61 0z/r0/z0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON  gegee agsgsloz  6LOZ/LErLo VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON 96922 e989S0z  BLOZ/LErLo VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\UOUd-UON +¢z'900°1 L28$2009 6 LOz/LEILO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\UOUd-UON 61 'g00'1 OLg$2009  6LOZ/LErLo VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\UOUd-UON 2/6601 198$1009  6L0Z/LErLo VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AWJOUd-UON sppiz Z81S1009 61 0z/ez/L0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AWJOUd-UON Lo%Lz 9g1g2009  6L0z/ezrLo VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AWJOUd-UON sppiz 181G2009  6L0z/8z/L0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\UOUd-UON cezpe'y Q6SrSL0Z 6 L0Z/LZ/L0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AWJOUd-UON 1 6'622'2 SG9rsloz — 6L0z/LZrLo VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AWJOUd-UON  ¢1408'2 PORPSLOZ —BLOZIBLILO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\UOUd-UON goog 8ZLPSLOZ 6 LOZ/EL/LO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\UOLUd-UON oge61'y 7981009 BLOZILIILO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON $906 oger/009 6 L0Z/ZL/L0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\UOUd-UON  ¢z'L02z"1 e98r1009 6 L0Z/Z1/L0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON  ¢o'eoe SSLPSL0Z 6 LOZ/PLILO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON  zpyez'Z1 B8OrSL0Z 6 LOZ/FLILO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON 00768 LOSPSLOZ 6 LOZ/PLILO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOLUd-UON 00'90¢ ZOSPSLOZ — BLOZ/PL/LO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AWJOUd-UON zge1z ezgosoz 6 LOZ/LE/LO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON gp zsh ZGPOSLOZ 6 LOZ/LE/LO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AQUOUd-UON cet eze0Sloz 6 LOZ/LE/LO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON oz z9z SOLESLOZ — BLOZ/LENLO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AWOUd-UON 9p 272'2 QLZLsoz 6 LOZ/LE/LO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON 76169 VPLZSL0Z — BLOZ/LLILO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON gy 6ze 1SSP1009 6 L0Z/L4/L0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOLd-UON og o6r BeS6rLOZ — BLOZ/LE/LO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOLUd-UON  g¢-99 SeSp1009 6 L0Z/0L/L0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON  o6'eer ZeSp1009 6 L0Z/0L/L0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\UOUd-UON go19 agszsioz 61 0z/60rL0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AWJOUd-UON tp oLL LOBESLOZ 6 LOZ/BOFLO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON 15 199'¢ 8ZLESL0Z 6 L0Z/60/L0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\UOLUd-UON gory Eleesioz 61 0z/60rL0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON oo zeg BEZPSLOZ 6 L0Z/60/L0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\UOLd-UON og'¢9¢ POEESLOZ — BLOZ/EO/LO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON op zer ZOzESLOZ 6 L0Z/60/L0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON op zer eozesoz 6 L0z/60rL0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON  ppee¢ Ler 1009 6 LOz/8OrLO VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AWJOUd-UON $0-Z"¢ Sreri009 BL 0z/80rL0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON z6°¢0¢ ZOzP1009 BL 0Z/20/L0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AWJOUd-UON zg-z¢2"r 8L0r1009 61 0Z/r0rLo VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON 96-19% ZeOr/009 61 0Z/E0rL0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON oz teh Seori009 61 0z/e0rk0 VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\UOUd-UON oF iso'y OZL6rL0z BL 0z/ZorLo VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOLUd-UON 1 ¢¢6z ezgc1009 — gLOzsLerzL VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AWJOUd-UON tp oLL PSLZGL0z  gLozrezieL VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON ze 0g¢'2 agrostoz  gLozrezizL VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AUOUd-UON py py agrez009 §— gL0z/ezrzL VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AWJOUd-UON pezge L9bE1009  gL0z/9z/ZL VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON  spzge yoLeso09 —gLozrozreL VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\JOUd-UON  00'66z Szrosoz — gLozsezizi VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AWJOUd-UON ooerz Solostoz — gLozrezizL VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
A\UOUd-UON ge191 QplerlLoz —gLOzseziZL VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AQUOUd-UON By uz PLeerlOZ gLozrezieL VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AWJOUd-UON 27-126 SeLerlLoz — gLozseziZL VSNLIZLE HO PURO dZLZLL XO Od ou] JueWidind3 OSL WHO
AWJOUd-UON 27-126 BeLerloz —gL0ZseziZL VSNLIZLE HO PURO dZLZLL XOG Od ou] juewidind3 OSL WHO
wie) ssoippe/m AQUolg JOopuaA = We], Aquoid / Auedwio> Ayoud we]D [E}OL, wnNn ayeg ssouppy Jopua;, oo

AUOU-UON Z Hed @ AjOld | Wed SUIE[D paindasuN 4/5 90% W404 Y4OS

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A\WOUd-UON  googz BeLe6ZLL —SLOZ/BOrLL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz ZeLE6ZL1 — SLOZ/GOrLL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON  goog¢ gele6zlt — gLOz/sorLL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz \SPSIZLL  BLOZISOFLL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz 8rrS/ZLL — SLOZISOrLL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz O69zrZL1 —SLOz/SOrL LE SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz QeLe6Zl1 — gLOz/SorL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz ZSrS/ZLL—-SLOZIZONLL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz LEOZPZLL — LOZILOFLL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON  gogzz \ZerZLL — LOZ/OE/OL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON  gogzz BLePLZLL — gLoz/oeroL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz Qeelezlt  gLozrez/oL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz VeazZzll — eL0z/9z/0L SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz 1Z9CLZLL_—-SLOZI9ZIOL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON go 002 ELOlZlt — gLozroz/ol SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz 1g9%PZLL —_SLOZISZ/OL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz geozrZlt — gLoziszvol SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz oLogezit — gLoziszvol SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz OZSPLZLL — gLoerrZroL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz 6Z9ZZZLL_-SLOZIEZ/OL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz eeelezll — gLozrez/ol SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz Peelezll — eLOzvez/ol SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz Geelezlt  gLozvezrol SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz Lloeezlt — eLozvez/ol SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz eeozrZll — sLOzrez/ol SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz e9ZPZLL SLOZ/ez/OL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz ZeCleZlb — gLozizz/oL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON  gogzz QeozLZLL  gLozizzrol SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\WOUd-UON  googz eZOCZZLL _SLOzIZZIOL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON  gogzz OegzzZlt  sLOz/6L/OL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON  gogzz SlePLZLL — SLOz/6L/OL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON  gogzz LUGPLZLL — SLOZ/ELIOL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON  gogzz Gl980Z11 — SLOZ/BLIOL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON  gogzz QLeZOZLL — SLOZ/ELIOL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON  gogzz LCOTLZLL.—- SLOZILLIOL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON  goost O€SE6LLL — SLOZ/AL/OL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON  gogzz BLEZOZLL — SLOZIOLIOL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON  gogzz LLEZOZLL — SLOZIOLIOL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON  gogzz Q/980Z11 — SLOZ/OL/OL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON  gogzz ZESEBLLL — SLOZISL/OL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON  gogzz LLPEGLLL — SLOZISLIOL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
A\UOUd-UON  gogzz 18296111 SLOZIZLIOL SeIEIS PEIIUNSSP-E9eSr HO FeUUIOUIDgSshEg XOg Od 977 ‘so si607 Ajend eI. 99H
AWOL-UON [229g ossgosl — gLozsazizL 6E168 AN Seba, SETUIEMBIM M Sere OUny @ SJL SUBIAA SL 9H
AWOLId-UON  geges'e giggosl  gLOzsLzizb 6E168 AN Seba, SETUIEMBIM M Sere OUny @ SJL SUBIAA SL 9H
AWOLId-UON og z9s'r prse0sl © 8LOz/0Z/ZL 6E168 AN Seba, SETUIEMBIM M Sere OUny @ SJL SUBIAA SL 9H
AWOL-UON ez zee gbzsosl — gLozsozizL 6E168 AN Seba, SETUIEMBIM M Sere OUny @ SJL SUBIAA SL 9H
AWOLId-UON ooezs'z erssosl — gLozsozizb 6E168 AN Seba, SETUIEMBIM M Sere OUny @ SJL SUBIAA SL 9H
AWOLId-UON po6sz LSb808L — 8LOZ/ZLIZL 6E168 AN Seba, SETUIEMBIM M Sere OUny @ SJL SUBIAA SL 9H
AWOLId-UON po6sz egogos! © 8LOzsz0ZL 6E168 AN Seba, SETUIEMBIM M Sere OUny @ SJL SUBIAA SL 9H
AWOLId-UON oz ¢9g eb08osl = gLOzsraizL 6E168 AN Seba, SETUIEMBIM M Sere OUny @ SJL SUBIAA SL 9H
AWOLId-UON FeerL 6982081 — BLOzsraizL 6E168 AN Seba, SETUIEMBIM M Sere OUny @ SJL SUBIAA SL 9H
AWOLId-UON 02 942'2 6862081 — BLOz/enzL 6E168 AN Seba, SETUIEMBIM M Sere OUny @ SJL SUBIAA SL 9H
AWOLId-UON gz gez'z ZL8L081 — BLOZ/BZ/LL 6E168 AN Seba, SETUIEMBIM M Sere OUny @ SJL SUBIAA SL 9H
AWOLId-UON gg ege 199L081 8 LOZ/9zrLL 6E168 AN Seba, SETUIEMBIM M Sere OUny @ SJL SUBIAA SL 9H
AWOLId-UON ep eso PrLLOgl — BL0Z/9Z/LL 6E168 AN Seba, SETUIEMBIM M Sere OUny @ SJL SUBIAA SL 9H
AWOLd-UON zeLer SPLLOsL — BLOZ/9N/LL 6E168 AN Seba, SETUIEMBIM M Sere OUny @ SJL SUBIAA SL 9H
AWOLId-UON  yeose ESLL081 — BLOZ/9N/LL 6E168 AN Seba, SETUIEMBIM M Sere OUny @ SJL SUBIAA SL 9H
A\UOUd-UON  2e12z ZpeLsloz  6Loziz0rzo WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON  goziL eerrsloz — sLoziz0rzo WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON 9919 BLiSSLOz — 6Lozizorzo WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON LLL erlosloz — sLozizorzo WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUg-UON  getoL Prrasloz — 6LOz/L0Z0 WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUg-UON  getoL slessloz — 6Lozizorzo WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\WOUd-UON gz oslestoz — sLozrzorzo WSNLLZL6 NO PURROdZLZL| XG Od ‘ul jusuidind3 93 Wyo
A\UOUd-UON  ge40e Qglrsi0z — 6Lozizorzo WSMLLZL6 NO PURNOdZLZL| XG Od ‘uj quauidind3 93L WHO
wie) ssoippe/m AQUolg JOopuaA = We], Aquoid / Auedwio> Ayoud we]D [E}OL, wnNn ayeg ssouppy Jopua;, oo

AJWOUd-UON Z Hed @ AOUd | Wed SUIIeID peinoesuN 4/4 90Z W0d V4OS
|leyaq souRleg Jopua,A
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A\JOLd-UON  6ze99 L-Zbugo9s — sLOzySL ro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLUd-UON  6o's¢9 L-b90609¢  BLOzySL ro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON og ig L-z90609$  BLOzySLro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLd-UON  ge099 L-p90609s — BLOzySL ro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\UOLd-UON g'¢99 L-s90609¢ — sLozysLro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON 1 e9z9 L-e90609$  BLOz/ZL/r0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  6z0g9 L-Zrogo9s  BLOz/ZL/r0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
AJOUd-UON 6zZ¢9 1-60/809$  6LOZ/L LPO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  go0¢e9 L-b¢zp09$ — BLOZ/OL/rO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  ¢y-999 L-ZGir09$  BLOZ/OL/rO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON pp199 L-/ZLP09S  BLOZ/OL/rO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
AWJOUd-UON 1 h-279 L-0S/r09$  BLOZ/OL/rO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON 4299 L-6r/P09S  6LOZ/OL/rO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLUd-UON  gy¢g9 L-Sezpo9s — 6LOZ/OL/rO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLUd-UON 9z'¢e9 L-peLpog9s — BLOZ/OL/rO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON ¢gz9 L-9erp09$ — 6LOz/e0rr0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\UOLUd-UON  gg'oga L-eripo9s — 6L0z/60rr0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLd-UON sega \-pripo9s — 6L0z/60/r0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
AWJOUd-UON 1 h-279 \-ehipo9s — 6LOz/e0rr0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  6g¥e9 L-Zripo9s — 6LOz/60rr0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLUd-UON  gg¥z9 b-bpzpo9s 6 L0z/60rr0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
AJOUd-UON jezso L-Or/p09S — BLOz/60rr0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON ¢9°er9 L-szzpog9s — sLOzyearro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
AJOUd-UON 6zZ¢9 L-LLgLO9$— BLOzyearro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  zp9¢9 L-ezLp09s — sLOz/eorro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLUd-UON  g¢'¢eq L-6Zzp09s — 6LOz/e0rro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON $¢'199 L-eezpo9s — sLOzyearro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  eeogg L-LeLp09$ — 6LOz/e0rrO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLd-UON oz'¢g9 L-E19L09¢  sLOzyearro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  ppe¢9 L-919L09¢  sLOzyearro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON 99129 L-SigLo9¢ — sLOzy9nrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON gyorg L-ezzp09$ — BLOzs90rrO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
AJOUd-UON  g6-zr9 L-e19l09¢  sLozy9nrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON oz zr9 I-biglo9s — sLozysorro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON 1 6:0g9 L-Z1gL09¢ — BLOzysorro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON zpz99 \-plglogs — 6Lozysorro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
AWJOUd-UON zz029 \-PrLLgrS — 6LOzysorro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  ¢geer L-Z60rorS — BLOZySOrrO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLd-UON  gp'esa L-G60r9rS — BLOZsSOrrO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  zeL¢6 LPLGOPLE — @LOz/EL/@L SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'0sz SSPS/ZbL — SLOZ/OLZL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
AWJOUd-UON 77162 OPLSOPLL © L0Z/0LZL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'0sz OSPS/ZEL — LOZ/0LIZL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
AWJOUd-UON  gepiz PrLSOPLL — @LOz/gO/eL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\UOUd-UON oo'sz L-ELBOLZLL — BLOZ/LOZL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
AJOUd-UON 19192 ShLSOPLL — SL0Z/LOrZL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
AJOUd-UON oy e62 ZPLSOPLL — SL0Z/LOrZL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'szz GLEZOZLL — BLOZILZ/LL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'szz GOLLELEL — @LOZ/Ez/LL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON 0008 SPLSOPLL — gLOZ/ezbL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'0sz BELZZELL — BLOZ/OZLL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'szz OSPESL EL — LOZ/BLILL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'szz SPOLSLEL — LOZ/6L/LL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'szz SZe6rL EL BLOZ/6L/LL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'szz ZrlZZEbL — BLOZIPLILL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'0sz VPLZZELL — BLORrPLILL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'0sz OPLZZELL — BLOZIPLILL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'0sz ZZrerELL —BLOZIELLL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'szz VSIZLLE — @LOtIZLILL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'szz QELZZELL — BLOZ/BOrLL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'szz LELZZELL — BLOZ/BOMLL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'szz BBLESZbL — BLOZ/BO/LL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'0sz PELe6ZLL — BLOZ/SOFLL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'0sz SLOGPZEL — BLOZ/BOMLL SBIE]S PSIUNGSSP-C9zSP HO FEUUIOUIDgSSPES XO Od 27180981607 ANEND RIOL 99H
A\JOUd-UON oo'0sz IGLE6ZLL — BLOZIBOFLL SBIE]S PSUNGSSP-C9zSP HO FEUUIOUIDESSPES XO Od 271's0981607 ANEND RIOL 99H
wie) ssoippe/m AQUolg JOopuaA = We], Aquoid / Auedwio> Ayoud we]D [E}OL, wnNn ayeg ssouppy Jopua;, oo

AJWOUd-UON Z Hed @ AOUd | Wed SUIIeID peinoesuN 4/4 90Z W0d V4OS
|leyaq souRleg Jopua,A
OT1 ‘sjeveyew saoinosey uinsdAy
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A\JOUd-UON  ogrr9 L-pSplzgs  sLozyezrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  seera L-Sgrlzgs  sLozyeziro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLd-UON  ge099 L-iGPlZ9s  6LOzyezrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
AJOUd-UON zzZ59 L-pZ0ez9s — BLOz/ezrrO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
AWJOUd-UON $¢zz9 L-o10ez9g  BLOzyezrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON 90002 L-LLOEZ9S — BLOZ/ezrrO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  gg'929 L-6L0€Z9$  BLOz/ezrrO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLUd-UON $9999 L-Zolezgs — sLOzyezrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  seera L-sz0ez9g — sLOzyezrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  gegra L-6rrLZ9s  BLOzsszrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON ¢y¢z9 L-bgPlz9s  sLozyszrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  ceeza L-ogrlz9s  sLozyszrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLUd-UON o'e99 L-SprLz9s  sLozsezrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON ¢y¥99 L-errlzg9s  sLozsezrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  eeogg L-perlzgs  sLozsezrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  geye9 \-LprlZgs  sLOz/zzrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLd-UON  6g6c9 L-OrrlZ9s  BLOz/Zzrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON zezso L-prrlZ9s  6LOz/Zzrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON 60 ze9 L-Zrrlz9s  sLozzzrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
AJOUd-UON  g6-zr9 b-Lpplzgs — 6L0z/zzrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLd-UON  ge'gca L-eerlzg9s  sLOz/ezrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON op reg L-Serlzos  sLOzyzzrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLd-UON  go'699 L-eerlzgos  sLozyzzrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLUd-UON  gesr9 \-GhrLZ9s  BLOz/zzrro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  j6¢s9 L-ZISLE9S  BLOZ/eL/r0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  ¢19¢9 L-E9SL 19S  BLOzyeL/ro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON 1 6:0g9 L-99SL 19S  BLOz/eL/ro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\UOUd-UON z9:199 L-L9SLE9S  BLOZ/eL/r0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON ¢1z99 L-89SL 19S  BLOz/eL/r0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLd-UON  6g6c9 L-OrrLZ9S — BLOZ/eL/rO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON 99129 L-6erlZ9S  BLOZ/eL/r0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON og ig \-LePlZ9s  BLOz/eL/r0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLd-UON  ge'gca L-9erlZ9s  BLOz/eL/r0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON 69-279 L-LISLE9S — 6LOZ/6L/r0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON zea L-S1SLE9S  BLOZ/eL/r0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  zo6e9 L-SISLL9S  BLOZ/6L/r0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON gi 499 L-PISLL9S  BLOZ/6L/r0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLUd-UON  geeg9 L-E1SLE9S  6LOz/eL/r0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLd-UON  gg'eg9 L-LISLE9S  BLOZ/6L/r0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  geeig L-O1SL19S  BLOz/eL/r0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON 1 y-9¢9 L-69SL 19S  6LOz/eL/r0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLd-UON  ge'gca L-Z9SLL9S  BLOzveL/ro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON eyec9 L-8Z8019S  BLOZ/eL/rO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON og'ez9 L-S9SLL9S  BLOZsLL/rO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLd-UON  go'9¢9 L-P9SLL9S  BLOZsLLHrO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  6z0g9 L-SZB0l9$  BLOzySLrO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON 67929 L-928019$  BLOZ/SLHrO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON 69-279 L-228019S  BLOZ/SLArO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
AWJOUd-UON ez 119 L-628019S  6LOZ/SL/rO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON $¢'199 L-268019S  6LOZ/SL PO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
AWJOUd-UON $0179 1868019  BLOZ/SLrO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  6z0g9 L-668019S  BLOZ/SL/rO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\UOUd-UON og'6e9 L-008019$  BLOzySL/rO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON ¢ez99 L-bO6019$  BLOZySL/rO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLUd-UON  zg9r9 L-8SSL 19S  BLOzySLiro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON 11099 L-6SSL 19S  6LOzySLirO SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOLUd-UON  gy¢g9 L-09SL 19S  BLOzySLfro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  ¢eo¢9 L-L9SLE9S  BLOzySL ro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON ggze9 \-progogs — BLOzySL ro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  6z0g9 L-Srogo9s — BLOzysL ro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON 67929 L-groga9s — BLOzySL ro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON 69-279 L-Ep0909$  BLOz/SLr0 SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
AWJOUd-UON 1 h-279 L-eo1g09s — 6LOz/SL ro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
AJOUd-UON 19129 L-o1zg09¢ — BLOzySL ro SBIE]S PEUNLOSZE WO OIUEEPYPY ASUEWEL SP LLL NI SoqsI607 ANUU L 99H
A\JOUd-UON  ¢eer9 b-bLzg09$  BLOzySL ro SBIE]S PSUNLOSZE WO OIUEEPYPY ASUBWEL SP LLL NI Sonsi607 ANU L 99H
wie) ssoippe/m AQUolg JOopuaA = We], Aquoid / Auedwio> Ayoud we]D [E}OL, wnNn ayeg ssouppy Jopua;, oo

AJWOUd-UON Z Hed @ AOUd | Wed SUIIeID peinoesuN 4/4 90Z W0d V4OS
|leyaq souRleg Jopua,A
OT1 ‘sjeveyew saoinosey uinsdAy
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AWJOUd-UON 1g 627 BLS0SSZ-FLL — SLOZSLOFLL WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
A\WOUd-UON  gg'eg OZESPSI-FLL — SLOZ/LOMLE WSNLZE-ZLOGS ZW XUECUdLOZES XO O'd SODIAIBS €IIg PAIIUN Wyo
AWUOLd-UON gp g9z LUISLPL-PLL — 8L0/22/60 WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
AWUOUd-UON  go-gzo'L @8ZSbPL-PlLL 8 L0¢/22/60 WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
AWJOMUd-UON gp 927 SOLL00L-PLL 8 L02/L0/60 WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
AWUOLd-UON gp g9z QPSOOLL-PLL — SLOZ/LO/60 WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
AWUOUd-UON  go-gzo'L ZLLELLL-PLL = SLOR/L0/60 WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
AWUOUd-UON  go-gzo'L SZLLO0L-PLL 8 L02/L0/60 WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
AWUOUd-UON 19200" s9egoso-rLL — gL0z/80/90 WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
AWJOUd-UON gogre Gregoso-PLL 8 L0Z/80/90 WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
AWJOUd-UON gogre OZSESL9-PLL — SLO/PL/SO WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
A\UOUd-UON 26 S01"L POCZZL9-PLL — 8LOZ/80/S0 WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
A\UOUd-UON py 6y 0gosga-rll  gLozioerro WSNLZE-ZLOGS ZW XUECUdLOZES XO O'd SODIAIBS €IIg PAIIUN Wyo
AWJOUd-UON  p60rL OS8ZLO9-PLL — SLO@/EL/PO. WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
A\UOLg-UON gg-cop'L QOLZES9-PLL — SLOZ/OL/PO. WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
AWJOUd-UON  p60rL SPSLOSO-PLL — SLO/61/E0 WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
A\UOLg-UON gg-cop'L LOLLLPO-PLL — SLO’/PL/EO. WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
A\UOUd-UON 7976 Ge6loro-rLL — gLozreoreo WSNLZE-ZLOGS ZW XUECUdLOZES XO O'd SODIAIBS €IIg PAIIUN Wyo
AWMOU-UON pez9z QZOGOP9-PLL — SL0¢/22/20. WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
A\UOLg-UON gg-cop'L QLZZ9E9-PLL — SLOZ/EL/ZO. WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
A\UOLg-UON gg-cop'L ZesrrZo-PlLL — SLOZ/SL/LO WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
AUOLUd-UON  coege'L GZELLLO-PLL = LEO’ ZL WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
AUOLUd-UON  coege'L BO66909-FLL — LLOZ/ZZ/LL WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
AUOLUd-UON  coege'L BOSLSOS-FLL — LLOZ/SZ/0L WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
AUOLUd-UON  coege'L SSgses-hlLL —LL0z/0¢/60 WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
AUOLUd-UON  coege'L @eZeelSrlL —LLOesLE/8O. WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
AUOLUd-UON  coege'L B80ZZ9S-PLL —LLOC/LEILO WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
AUOLUd-UON  coege'L QSEBESS-PLL — LLO@/PL/LO WSNL9ZE-eL0S8 ZW XIUGCUd/92ES X08 “Od SBDIM8S BI!S PUN, Wyo
AWMOUd-UON  pz-6%9'L OLO-OLESLESPL —_LLOZ/LEZL PLO06 WO Se1eBUY SOTZZLLS siequey peyun, 9H
AWUOLg-UON 41 Zg9°e OLO-SeOSsrSrL —_LLOZ/OzZL. PLO06 WO Se1eBUY SOTZZLLS siequey peyun, 9H
AWMOUd-UON  pz-6%9'L BOO-OLLSLESPL = LLOZ/EOIZL PLO06 WO Se1eBUY SOTZZLLS siequey peyun, 9H
AWMOUd-UON  ggoze'L 100-€296286P) — LL0Z/80/60 PLO06 WO Se1eBUY SOTZZLLS siequey peyun, 9H
AWUOMUd-UON gp coi" ZLO-SLeeegerL —_LLOZ/EBO PLO06 WO Se1eBUY SOTZZLLS siequey peyun, 9H
AWJOLd-UON gp gze'z LLO-Gz6e69trL —-LL0z/Z0/8O PLO06 WO Se1eBUY SOTZZLLS siequey peyun, 9H
AWJOLd-UON gp gze'z OLO-SL6e69%rL —_LL0Z/SOILO PLO06 WO Se1eBUY SOTZZLLS siequey peyun, 9H
AWJOLd-UON gp gze'z B00-SLBE9%PL —_LLOZ/ZO/90 PLO06 WO Se1eBUY SOTZZLLS siequey peyun, 9H
AWOUd-UON  ggzi9'% C00-SEBLO0ZLE = LLOZ/SL/LL PLO06 WO Se1eBUY SOTZZLLS siequey peyun, Wyo
AWOUd-UON p21 212% ZO0-SEBL00828 — LLOZIELLL PLO06 WO Se1eBUY SOTZZLLS siequey peyun, Wyo
AWOUd-UON ey psi'yt LO0-8e6L00%28 — LL0Z/62/0L PLO06 WO Se1eBUY SOTZZLLS siequey peyun, Wyo
AWJOUd-UON ee 9ze'% 100-e0S0rZPL —LLOZ/90/Z0 PLO06 WO Se1eBUY SOTZZLLS siequey peyun, Wyo
A\WOUd-UON  geyei's COCLPEZOL LOLOL LPL1-08909 11062919 1yZ88 XG Od —_gisiiplpedg Aiddng Bulddiyg euIn 99H
A\UOUd-UON ghtoz ZP9OLL — BLOZEOIZL SPESS NIN BXLISUUIA 00Z @1S JC 8419 enig 6OLg uoqesodsue | yaes9 ojeuIn | 99H
A\UOUd-UON goog PrOOLL — gLOzsLOzL SPESS NIN BXLISUUIA 00Z @1S JC 8419 enig 6OLg uoqesodsue | yaes9 ojeuIn | 99H
A\UOUd-UON  gogzz Z919/1  BLOZISLILL SPESS NIN BXLISUUIA 00Z @1S JC 8419 enig 6OLg uoqesodsue | yaes9 ojeuIn | 99H
A\UOUd-UON  go00g 18991) — BLOZ/GOILL SPESS NIN BXLISUUIA 00Z @1S JC 8419 enig 6OLg uoqesodsue | yaes9 ojeuIn | 99H
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Case 19-14796-mkn

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Case 19-14796-mkn

Fill in this information to identify the case:

Debtorname CGYypsum Resources Materials, LLC

United States Bankruptcy Court for the:
19-14796-mkn

Case number (If known):

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District o
(State)

Chapter 1 1

; Nevada

 

Official Form 206G

 

Schedule G: Executory Contracts and Unexpired Leases

LJ Check if this is an
amended filing

12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

1.

Does the debtor have any executory contracts or unexpired leases?

LJ No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official

Form 206A/B).

2. List all contracts and unexpired leases

2.1

2.2

2.3

2.4

2.5

State what the contract or
lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

State what the contract or
lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

State what the contract or
lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

State what the contract or
lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

State what the contract or
lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

Official Form 206G

Multiple Caterpillar installment

State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired lease

Cashman Equipment Company

 

sale contracts

3300 St Rose Pkwy

 

Various

 

 

CPGO Prime Agreement

Henderson, NV 89052

 

 

Castle Placement, LLC

 

 

 

Installment Sale Contracts

Attn: Richard Luftig

1460 Broadway, Ath Floor
New York, New York 10036

 

 

Caterpillar Financial Services Corp.

 

P.O. Box 100647

 

 

 

Material Supply Agreement

Pasadena, CA 91189-0647

 

 

Cemex Construction Materials Pacific, LLC

 

Attn: Vice President - Procurement

 

Expires December 31, 2021

 

 

Gypsum Rock Suppy Agreement

10100 Katy Fwy, Ste 300
Houston, TX 77043

 

 

Certainteed Gypsum Manufacturing, Inc.

 

20 Moores Rd

 

Expires July 31, 2021

 

 

Schedule G: Executory Contracts and Unexpired Leases

Malvern, PA 19355

 

 

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Debtor

Case 19-14796-mkn

Gypsum Resources Materials, LLC

 

Name

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Case number (i known) 19-14796-mkn

 

S| Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases

State what the contract or
lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

State what the contract or
lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

State what the contract or
lease is for and the nature
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State what the contract or
lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

State what the contract or
lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

Official Form 206G

Master Equipment Finance

State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired lease

Crestmark Equipment Finance, Inc.

 

Agreement

40950 Woodward Ave, Ste 201

 

 

 

Motor Vehicle Security

 

Bloomfield Hills, MI 48304

 

 

Hitachi Capital America Corp.

 

Agreement (2) 2017 Dragon 12.5

800 Connecticut Ave

 

YD Lt BTM Dump Semi/Pull

 

 

Refinanced Equipment Contract

 

Norwalk, CT 06854

 

 

Komatsu Financial Limited Partnership

 

1701 W Golf Rd, Ste 1-300

 

 

 

Master Loan and Security

 

Rolling Meadows, IL 60008

 

 

People's Capital and Leasing Corp.

 

Agreement #5220 dtd 04/02/18

850 Main St, BC-03

 

 

 

Multiple Commercial Security

 

Bridgeport, CT 06604

 

 

Sunwest Bank

 

Agreements

2050 Main St, Ste 300

 

Various

 

 

Sublease of 32101 Whisler Rd

 

Irvine, CA 92614

 

 

Wyatt Best

 

McFarland, CA 93250

6801 Avenue 430

 

Expires September 15, 2019

 

 

Leases #1, #2 and #3 - Various

 

Reedley, CA 93654

 

 

Zions Credit Corporation

 

Operating Equipment

310 S Main, Ste 1300

 

 

 

Schedule G: Executory Contracts and Unexpired Leases

 

Salt Lake City, UT 84101

 

 

page of
Case 19-14796-mkn Doc 104 Entered 08/26/19 17:11:41 Page 54 of 55

Fill in this information to identify the case:

 

Debtor name Gypsum Resources Materials, LLC

 

United States Bankruptcy Court for the: District of NV
(State)
Case number (If known): 19-14796-mkn

 

LJ Check if this is an
amended filing

Official Form 206H
Schedule H: Codebtors 12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.

 

 

1. Does the debtor have any codebtors?
LJ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.

W Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. |nclude all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Codebtor Column 2: Creditor
Name Mailing address Name aa
21 Gypsum Resources 8912 Spanish Ridge Ave, Ste 200 Sun West Bank 4p
Street — QO E/F
oG
Las Vegas, NV 89148
City State ZIP Code
2.2 Gypsum Resources 8912 Spanish Ridge Ave, Ste 200 Caterpillar Fin. Srv. D
Street ~~ — QO) E/F
oG
Las Vegas, NV 89148
City State ZIP Code
23 James M Rhodes 8912 Spanish Ridge Ave, Ste 200 Caterpillar Fin Srv. ab
Dynasty Trust | Street OO Q E/F
ynasty | rus w G
Las Vegas, NV 89148
City State ZIP Code
24 James M Rhodes  _— 8912 Spanish Ridge Ave, Ste 200 Caterpillar Fin Srv. ab
Street ~~ — QO) E/F
Dynasty Trust II ac
Las Vegas, NV 89148
City State ZIP Code
25 James M. Rhodes 8912 Spanish Ridge Ave, Ste 200 Caterpillar Fin Srv. ap
Street ~~ — QO) E/F
MG
Las Vegas, NV 89148
City State ZIP Code
26
ab
Street ~~ — QO) E/F
oG
City State ZIP Code

Official Form 206H Schedule H: Codebtors page lof
Case 19-14796-mkn

Debtor Gypsum Resources Materials, LLC

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Name

|| Additional Page if Debtor Has More Codebtors

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

Column 1: Codebtor

Name

Mailing address

Case number (i known) 19-14796-mkn

 

Column 2: Creditor

Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2.

Street

City State ZIP Code
2.

Street

City State ZIP Code
2.

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City State ZIP Code
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City State ZIP Code

Official Form 206H

Schedule H: Codebtors

Check all schedules
that apply:

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